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                                                                                   APPEAL,TERMED
                    U.S. District Court − District of Colorado
                          District of Colorado (Denver)
             CRIMINAL DOCKET FOR CASE #: 1:20−cr−00305−DDD−1

  Case title: USA v. Tew et al

   Magistrate judge case number: 1:20−mj−00088−KLM

  Date Filed: 09/29/2020

  Date Terminated: 11/15/2024

  Assigned to: Judge Daniel D.
  Domenico

  Defendant (1)
  Michael Aaron Tew                 represented by Peter R. Bornstein
  TERMINATED: 11/15/2024                           Peter R. Bornstein, Law Offices of
                                                   6060 Greenwood Plaza Boulevard
                                                   Suite 500
                                                   Greenwood Village, CO 80111
                                                   720−354−4440
                                                   Fax: 720−287−5674
                                                   Email: pbornstein@prblegal.com
                                                   TERMINATED: 01/30/2023
                                                   LEAD ATTORNEY
                                                   Designation: CJA Appointment

                                                     Edward R. Harris
                                                     Federal Public Defender's Office
                                                     Districts of Colorado and Wyoming
                                                     633 17th Street
                                                     Suite 1000
                                                     Denver, CO 80202
                                                     303−294−7002
                                                     Email: co.ecf@fd.org
                                                     TERMINATED: 10/21/2020
                                                     Designation: Public Defender or Community
                                                     Defender Appointment

                                                     Eric M. Creizman
                                                     Armstrong Teasdale LLP
                                                     919 Third Avenue
                                                     37th Floor
                                                     New York, NY 10012
                                                     212−209−4400 x4358
                                                     Fax: 212−409−8385
                                                     Email: ecreizman@atllp.com

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                                              TERMINATED: 08/13/2020
                                              Designation: Retained

                                              Jason Dale Schall
                                              Bowlin & Schall Law LLC
                                              7350 East Progress Place
                                              Suite 100
                                              Greenwood Village, CO 80111
                                              720−505−3861
                                              Email: jason@bowsch.com
                                              ATTORNEY TO BE NOTICED
                                              Designation: CJA Appointment

                                              Kristen M. Frost
                                              Ridley McGreevy & Winocur PC
                                              303 16th Street
                                              Suite 200
                                              Denver, CO 80202
                                              303−629−9700
                                              Fax: 303−629−9702
                                              Email: frost@ridleylaw.com
                                              ATTORNEY TO BE NOTICED

                                              Michael Hassard
                                              Tor Ekeland Law, PLLC
                                              30 Wall Street
                                              8th Floor
                                              New York, NY 10005
                                              718−737−7264
                                              Email: michael@torekeland.com
                                              TERMINATED: 03/07/2022
                                              Designation: Retained

                                              Michael J. Sheehan
                                              Sheehan Law
                                              8400 East Prentice Avenue
                                              Suite 1040
                                              Greenwood Village, CO 80111
                                              720−381−6146
                                              Email: michael.sheehan.esq@gmail.com
                                              TERMINATED: 07/29/2020
                                              Designation: Retained

                                              Thomas Richard Ward
                                              Stuart & Ward LLP
                                              140 East 19th Avenue
                                              Suite 300
                                              Denver, CO 80203
                                              303−832−8888
                                              Email: tward@stuartwardlaw.com
                                              TERMINATED: 03/18/2021
                                              Designation: CJA Appointment


                                                                                          2
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                                                     Tor Bernhard Ekeland
                                                     Tor Ekeland Law, PLLC
                                                     30 Wall Street
                                                     8th Floor
                                                     New York, NY 10005
                                                     718−737−7264
                                                     Email: tor@torekeland.com
                                                     TERMINATED: 03/07/2022
                                                     Designation: Retained

                                                     Xuan Zhou
                                                     Lewis Brisbois Bisgaard & Smith LLP
                                                     550 West C Street
                                                     Suite 1700
                                                     San Diego, CA 92101
                                                     619−233−1006
                                                     Email: xuan.zhou@lewisbrisbois.com
                                                     TERMINATED: 03/07/2022
                                                     Designation: Retained

  Pending Counts                                     Disposition
                                                     Defendant shall be imprisoned for a total term of
                                                     forty−two (42) months. This term consists of
                                                     forty−two (42) months on each of Counts 1 through
  18 U.S.C. § 1349 (Conspiracy to                    42 and 44 through 56; and twelve (12) months on
  Commit Wire Fraud)                                 each of counts 57 through 60; all counts imposed
  (1s)                                               concurrently. Three (3) years supervised release on
                                                     each count, to run concurrently. , $5,600.00 special
                                                     assessment, no fine, and restitution in the total
                                                     amount of $6,361,622.10.
                                                     Defendant shall be imprisoned for a total term of
                                                     forty−two (42) months. This term consists of
                                                     forty−two (42) months on each of Counts 1 through
                                                     42 and 44 through 56; and twelve (12) months on
  18 U.S.C. § 1343 (Wire Fraud)
                                                     each of counts 57 through 60; all counts imposed
  (2s−40s)
                                                     concurrently. Three (3) years supervised release on
                                                     each count, to run concurrently. , $5,600.00 special
                                                     assessment, no fine, and restitution in the total
                                                     amount of $6,361,622.10.
                                                     Defendant shall be imprisoned for a total term of
                                                     forty−two (42) months. This term consists of
                                                     forty−two (42) months on each of Counts 1 through
  18 U.S.C. § 1956(h) (Conspiracy                    42 and 44 through 56; and twelve (12) months on
  to Commit Money Laundering)                        each of counts 57 through 60; all counts imposed
  (41s)                                              concurrently. Three (3) years supervised release on
                                                     each count, to run concurrently. , $5,600.00 special
                                                     assessment, no fine, and restitution in the total
                                                     amount of $6,361,622.10.



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  18 U.S.C. § 1957 (Engaging in                        Defendant shall be imprisoned for a total term of
  Monetary Transactions in                             forty−two (42) months. This term consists of
  Property Derived from Specified                      forty−two (42) months on each of Counts 1 through
  Unlawful Activity)                                   42 and 44 through 56; and twelve (12) months on
  (42s)                                                each of counts 57 through 60; all counts imposed
                                                       concurrently. Three (3) years supervised release on
                                                       each count, to run concurrently. , $5,600.00 special
                                                       assessment, no fine, and restitution in the total
                                                       amount of $6,361,622.10.
                                                       Defendant shall be imprisoned for a total term of
                                                       forty−two (42) months. This term consists of
  18 U.S.C. § 1957 (Engaging in                        forty−two (42) months on each of Counts 1 through
  Monetary Transactions in                             42 and 44 through 56; and twelve (12) months on
  Property Derived from Specified                      each of counts 57 through 60; all counts imposed
  Unlawful Activity)                                   concurrently. Three (3) years supervised release on
  (44s−56s)                                            each count, to run concurrently. , $5,600.00 special
                                                       assessment, no fine, and restitution in the total
                                                       amount of $6,361,622.10.
                                                       Defendant shall be imprisoned for a total term of
                                                       forty−two (42) months. This term consists of
                                                       forty−two (42) months on each of Counts 1 through
  26 U.S.C. § 7203 (Willful Failure                    42 and 44 through 56; and twelve (12) months on
  to File Tax Return)                                  each of counts 57 through 60; all counts imposed
  (57s−60s)                                            concurrently. Three (3) years supervised release on
                                                       each count, to run concurrently. , $5,600.00 special
                                                       assessment, no fine, and restitution in the total
                                                       amount of $6,361,622.10.

  Highest Offense Level
  (Opening)
  Felony

  Terminated Counts                                    Disposition
  18 U.S.C. § 1349 (Attempt and
  Conspiracy)
  (1)
  18 U.S.C. § 1957 (Engaging in
  Monetary Transactions in
  Property Derived from Specified
  Unlawful Activity)
  (2)
  26 U.S.C. § 7201 (Attempt to
  Evade or Defeat Tax)
  (3)

  Highest Offense Level
  (Terminated)


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  Felony

  Complaints                                         Disposition
  18 U.S.C. § 19569(h) Conspiracy
  to Commit Money Laundering



  Movant
  National Air Cargo Holdings, Inc.           represented by Eric S. Galler
                                                             Galler Corporate Law Group
                                                             9466 Georgia Avenue
                                                             Suite 130
                                                             Silver Spring, MD 20910
                                                             301−728−3850
                                                             Email: egaller@gcorplaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained

                                                              Nancy Lin Cohen
                                                              Cohen Black Law LLC
                                                              1888 North Sherman Street
                                                              Suite 770
                                                              Denver, CO 80203
                                                              720−699−2323
                                                              Email: nancy@cohenblacklaw.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Retained



  Movant
  National Air Cargo Group, Inc.              represented by Eric S. Galler
  doing business as                                          (See above for address)
  National Airlines                                          LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained

                                                               Nancy Lin Cohen
                                                               (See above for address)
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Retained



  Movant
  Christopher J. Alf                          represented by Eric S. Galler
                                                             (See above for address)
                                                             LEAD ATTORNEY

                                                                                                    5
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                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained

                                                      Nancy Lin Cohen
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained



  Movant
  Atlantic Union Bank                  represented by Lisa Marie Saccomano
                                                      Kutak Rock LLP
                                                      2001 16th Street
                                                      Suite 1800
                                                      Denver, CO 80202
                                                      303−297−2400
                                                      Email: lisa.saccomano@kutakrock.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained



  Plaintiff
  USA                                  represented by Matthew T. Kirsch
                                                      U.S. Attorney's Office
                                                      District of Colorado
                                                      1801 California Street
                                                      Suite 1600
                                                      Denver, CO 80202
                                                      303−454−0100
                                                      Fax: 303−454−0402
                                                      Email: matthew.kirsch@usdoj.gov
                                                      TERMINATED: 11/17/2021
                                                      LEAD ATTORNEY
                                                      Designation: Federal Agency Attorney

                                                     Albert C. Buchman
                                                     U.S. Attorney's Office
                                                     1801 California Street
                                                     Suite 1600
                                                     Denver, CO 80202
                                                     303−454−0228
                                                     Email: al.buchman@usdoj.gov
                                                     TERMINATED: 12/12/2023
                                                     Designation: Federal Agency Attorney

                                                     Andrea Lee Surratt
                                                     Crowell & Moring LLP
                                                     District of Colorado


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                                                    1601 Wewatta Street
                                                    Suite 815
                                                    Denver, CO 80202
                                                    303−524−8645
                                                    Email: asurratt@crowell.com
                                                    TERMINATED: 06/16/2022
                                                    Designation: Federal Agency Attorney

                                                    Bryan David Fields
                                                    U.S. Attorney's Office
                                                    District of Colorado
                                                    1801 California Street
                                                    Suite 1600
                                                    Denver, CO 80202
                                                    303−454−0100
                                                    Fax: 303−454−0402
                                                    Email: bryan.fields3@usdoj.gov
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Federal Agency Attorney

                                                    Hetal Janak Doshi
                                                    U.S. Attorney's Office
                                                    District of Colorado
                                                    1801 California Street
                                                    Suite 1600
                                                    Denver, CO 80202
                                                    202−808−4241
                                                    Email: hetal.doshi@usdoj.gov
                                                    TERMINATED: 02/02/2022
                                                    Designation: Federal Agency Attorney

                                                    Laura Beth Hurd
                                                    U.S. Attorney's Office
                                                    District of Colorado
                                                    1801 California Street
                                                    Suite 1600
                                                    Denver, CO 80202
                                                    303−454−0135
                                                    Fax: 303−454−0402
                                                    Email: laura.hurd@usdoj.gov
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Federal Agency Attorney

                                                    Martha Ann Paluch
                                                    U.S. Attorney's Office
                                                    District of Colorado
                                                    1801 California Street
                                                    Suite 1600
                                                    Denver, CO 80202
                                                    303−454−0100
                                                    Fax: 303−454−0402
                                                    Email: Martha.paluch@usdoj.gov


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                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Federal Agency Attorney

                                                              Sarah Hunter Weiss
                                                              U.S. Attorney's Office
                                                              District of Colorado
                                                              1801 California Street
                                                              Suite 1600
                                                              Denver, CO 80202
                                                              303−454−0100
                                                              Email: sarah.weiss@usdoj.gov
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Federal Agency Attorney

   Date Filed   #   Docket Text
   07/08/2020   1   CRIMINAL COMPLAINT as to Michael Aaron Tew (1). (Attachments: # 1
                    Affidavit, # 2 Criminal Information Sheet) (cmadr, ) [1:20−mj−00088−KLM]
                    (Entered: 07/09/2020)
   07/08/2020   2   Arrest Warrant Issued in case as to Michael Aaron Tew. (cmadr, )
                    [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   3   Arrest of Michael Aaron Tew. Initial Appearance set for 7/9/2020 02:00 PM in
                    Courtroom A 401 before Magistrate Judge Kristen L. Mix. (Text Only entry)(cmadr,
                    ) [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   4   NOTICE OF ATTORNEY APPEARANCE: Michael James Sheehan appearing for
                    Michael Aaron TewAttorney Michael James Sheehan added to party Michael Aaron
                    Tew(pty:dft) (Sheehan, Michael) [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   5   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                    Hetal) [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   6   ORDER ***granting 5 Motion as to Michael Aaron Tew (1), by Magistrate Judge
                    Kristen L. Mix on 7/9/20. (nmarb, ) (nmarb, ). [1:20−mj−00088−KLM] (Entered:
                    07/09/2020)
   07/09/2020   7   MINUTE ENTRY for Initial Appearance as to Michael Aaron Tew held before
                    Magistrate Judge Kristen L. Mix on 7/9/2020. Defendant present in custody via video
                    conference. Defendant advised. Defendant has retained private counsel and is not
                    requesting court appointed counsel. Parties address the Court regarding release
                    conditions. Bond set as to Michael Aaron Tew (1) $20,000 Unsecured with the
                    conditions as set forth in the Order Setting Conditions of Release. Preliminary
                    Examination set for 7/29/2020 2:00 PM in Courtroom A501 before Magistrate Judge
                    Michael E. Hegarty. Defendant advised of conditions of bond and remanded for
                    processing and release. (Total time: 14 minutes, Hearing time: 2:08−2:22)

                    APPEARANCES: Hetal Doshi on behalf of the Government via video conference,
                    Michael Sheehan on behalf of the defendant, Angela Ledesma on behalf of pretrial
                    via video conference FTR: KLM Courtroom A401. (lgale, ) Text Only Entry
                    [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020   8


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                     Unsecured Bond Entered as to Michael Aaron Tew in amount of $20,000 (lgale, )
                     [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/09/2020    9   ORDER Setting Conditions of Release as to Michael Aaron Tew (1) $20,000
                     Unsecured by Magistrate Judge Kristen L. Mix on 7/9/20. (lgale, )
                     [1:20−mj−00088−KLM] (Entered: 07/09/2020)
   07/10/2020   11   Passport Receipt as to Michael Aaron Tew.Surrender of passport re Bond Conditions;
                     Passport Number 484644160 issued by USA (jtorr, ) [1:20−mj−00088−KLM]
                     (Entered: 07/10/2020)
   07/15/2020   12   Arrest Warrant Returned Executed on 7/8/20 in case as to Michael Aaron Tew.
                     (nmarb, ) [1:20−mj−00088−KLM] (Entered: 07/15/2020)
   07/20/2020   13   Unopposed MOTION to Withdraw as Attorney by Michael Sheehan by Michael
                     Aaron Tew. (Sheehan, Michael) [1:20−mj−00088−KLM] (Entered: 07/20/2020)
   07/21/2020   14   MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 21 July 2020 as to
                     Michael Aaron Tew. The Court is not in possession of a financial affidavit by which
                     to determine whether court appointed counsel is appropriate in this case.Therefore,
                     on or before July 24, 2020, Defendant shall complete and file a financial affidavit by
                     which the Court may determine whether to appoint counsel for Defendant. (cmadr, )
                     [1:20−mj−00088−KLM] (Entered: 07/21/2020)
   07/25/2020   15   SUPPLEMENT to 13 Unopposed MOTION to Withdraw as Attorney by Michael
                     Sheehan by Michael Aaron Tew (Sheehan, Michael) [1:20−mj−00088−KLM]
                     (Entered: 07/25/2020)
   07/28/2020   16   Joint MOTION to Exclude Time Before Indictment by USA as to Michael Aaron
                     Tew. (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal)
                     [1:20−mj−00088−KLM] (Entered: 07/28/2020)
   07/28/2020   17   NOTICE OF ATTORNEY APPEARANCE: Eric M. Creizman appearing for
                     Michael Aaron Tew. Attorney Eric M. Creizman added to party Michael Aaron Tew.
                     (pty:dft) (nmarb, ) [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   18   Minute ORDER by Magistrate Judge Michael E. Hegarty on 29 July 2020. For good
                     cause shown pursuant to D.C. Colo. LAttyR 5(b), the Motion to Withdraw filedby
                     Michael Sheehan 13 is granted. Mr. Sheehan's representation of the Defendant in this
                     case is terminated. Defendant will continue to be represented Eric Creizman. (cmadr,
                     ) [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   19   COURTROOM MINUTES for proceedings held before Magistrate Judge Michael E.
                     Hegarty: Preliminary Hearing as to Michael Aaron Tew held on 7/29/2020.
                     Defendant present on bond. Preliminary hearing waived. Status Conference set for
                     10/14/2020 at 02:00 PM in Courtroom A 501 before Magistrate Judge Michael E.
                     Hegarty. (Total time: 8 minutes, Hearing time: 2:12 p.m.−2:20 p.m.)

                     APPEARANCES: Hetal Doshi and Matthew Kirsch on behalf of the Government,
                     Eric Creizman on behalf of the defendant. FTR: A501. (cthom, ) Text Only Entry
                     [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   20   WAIVER of Preliminary Hearing by Michael Aaron Tew (cthom, )
                     [1:20−mj−00088−KLM] (Entered: 07/29/2020)
   07/29/2020   21


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                     ORDER granting 16 Motion to Exclude as to Michael Aaron Tew (1) by Magistrate
                     Judge Michael E. Hegarty on 7/29/2020. (cthom, ) [1:20−mj−00088−KLM] (Entered:
                     07/29/2020)
   08/04/2020   22   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) [1:20−mj−00088−KLM] (Entered: 08/04/2020)
   08/07/2020   24   NOTICE OF ATTORNEY APPEARANCE Matthew T. Kirsch appearing for USA.
                     Attorney Matthew T. Kirsch added to party USA(pty:pla) (Kirsch, Matthew)
                     [1:20−mj−00088−KLM] (Entered: 08/07/2020)
   08/12/2020   25   MOTION to Withdraw as Attorney by Eric M. Creizman by Michael Aaron Tew.
                     (Creizman, Eric) [1:20−mj−00088−KLM] (Entered: 08/12/2020)
   08/12/2020   26   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Creizman, Eric)
                     [1:20−mj−00088−KLM] (Entered: 08/12/2020)
   08/12/2020   27   MOTION for Leave to Restrict by Michael Aaron Tew. (Creizman, Eric)
                     [1:20−mj−00088−KLM] (Entered: 08/12/2020)
   08/13/2020   28   Minute ORDER by Magistrate Judge Kristen L. Mix on 13 August 2020. IT IS
                     HEREBY ORDERED that, on or before August 20, 2020, Defendant shall complete
                     and file a financial affidavit (attached to this Minute Order) by which the Court may
                     determine whether to appoint counsel for Defendant. IT IS FURTHER ORDERED
                     that the Motion to Withdraw # 25 is GRANTED to the extent that Mr. Creizman is
                     relieved of all further representation of Defendant. (Attachments: # 1 CJA
                     Attachment) (cmadr, ) [1:20−mj−00088−KLM] (Entered: 08/13/2020)
   08/17/2020   29   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Attachments: # 1
                     Affidavit CJA 23 Affidavit)(Creizman, Eric) [1:20−mj−00088−KLM] (Entered:
                     08/17/2020)
   08/19/2020   30   MINUTE ORDER APPOINTING COUNSEL Under CJA, as to Michael Aaron Tew
                     by Magistrate Judge Kristen L. Mix on 8/19/20. IT IS FURTHER ORDERED that if
                     it appears at any time that the Defendant can afford to pay counsel, reimbursement of
                     attorney fees may be required pursuant to 18 U.S.C. §3006A(f). (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 08/19/2020)
   08/24/2020   31   NOTICE OF ATTORNEY APPEARANCE: Edward R. Harris appearing for Michael
                     Aaron TewAttorney Edward R. Harris added to party Michael Aaron Tew(pty:dft)
                     (Harris, Edward) [1:20−mj−00088−KLM] (Entered: 08/24/2020)
   09/17/2020   32   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 9/17/20 GRANTING 27
                     Motion for Leave to Restrict, as to Michael Aaron Tew (1). Pursuant
                     toD.COLO.LCrR 47.1, the Clerk of the Court is directed to maintain the following
                     document UNDER RESTRICTION at LEVEL 3:1 Declaration of Eric M. Creizman
                     in Support of Motion to Withdraw as Counsel to Michael Tew [#26]. (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 09/17/2020)
   09/17/2020   33   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew
                     (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal)
                     [1:20−mj−00088−KLM] (Entered: 09/17/2020)
   09/17/2020   34   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) [1:20−mj−00088−KLM] (Entered: 09/17/2020)



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   09/18/2020   35   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew. (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 09/18/2020)
   09/18/2020   36   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew. (nmarb, )
                     [1:20−mj−00088−KLM] (Entered: 09/18/2020)
   09/22/2020   37   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 9/22/20 as to Michael
                     Aaron Tew re 36 Restricted Document − Level 1. Status Conference set for
                     11/9/2020 10:00 AM in Courtroom A401 before Magistrate Judge Kristen L. Mix.
                     Text Only Entry (lgale, ) [1:20−mj−00088−KLM] (Entered: 09/22/2020)
   09/24/2020   38   Utility Setting Hearings as to Michael Aaron Tew: Text Only Entry Status
                     Conference set for 9/29/2020 01:30 PM in Courtroom A 502 before Magistrate Judge
                     Nina Y. Wang. All parties shall appear by video/telephone conference. (bwilk, )
                     [1:20−mj−00088−KLM] (Entered: 09/28/2020)
   09/29/2020   39   MOTION for Leave to Restrict by Michael Aaron Tew. (Harris, Edward)
                     [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   40   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Harris, Edward)
                     [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   41   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Harris, Edward)
                     [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   42   Unopposed MOTION to Modify 8 Bond, 7 Initial Appearance,,,, Bond Set/Reset,,,,
                     Set Hearings,,,, Text Only Entry − Prompts,,, 9 Order Setting Conditions of Release
                     by Michael Aaron Tew. (Harris, Edward) [1:20−mj−00088−KLM] (Entered:
                     09/29/2020)
   09/29/2020   44   COURTROOM MINUTES for Status Conference, and Arraignment as to Michael
                     Aaron Tew held on 9/29/2020 before Magistrate Judge Nina Y. Wang. Defendant
                     present on bond appearing by videoconference. Defendant advised regarding
                     proceeding by remote means pursuant to CARES Act. Defendant consents.
                     Defendant waives proceeding by indictment. Defendant sworn. Defendant questioned
                     regarding waiver. Waiver tendered to the court. Information and penalty sheet
                     tendered. Criminal Case number issues is 20−cr−00305. Defendant advised regarding
                     the charges, penalties, and fines. Plea of NOT GUILTY entered by defendant. Parties
                     do not believe a discovery conference is necessary in this matter. Defendant intends
                     to file a motion to modify bond which will likely be referred to Judge Mix since she
                     set the original conditions. Parties discuss process for Restricting #39 to Level 1 and
                     the notice period. Defendants bond continues. (Total time: 16 minutes, Hearing time:
                     1:33−1:49)

                     APPEARANCES: Hetal Doshi and Matthew Krisch on behalf of the Government,
                     Edward Harris on behalf of the Defendant. FTR: NYW−CRD. (bwilk, ) Text Only
                     Entry [1:20−mj−00088−KLM] (Entered: 09/29/2020)
   09/29/2020   45   WAIVER OF INDICTMENT by Michael Aaron Tew by Magistrate Judge Nina Y.
                     Wang on 9/29/2020. (bwilk, ) [1:20−mj−00088−KLM] (Entered: 09/30/2020)
   09/29/2020   49   UNRESTRICTED INFORMATION − Level 2 as to Michael Aaron Tew (1) count(s)
                     1, 2, 3. (Attachments: # 1Penalty Sheet ) (bwilk, ) Modified on 10/9/2020 to adjust
                     restriction level (athom, ). Modified on 1/20/2021 to unrestrict pursuant to 81 Order
                     (athom, ). (Entered: 10/05/2020)


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   09/30/2020   46   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) [1:20−mj−00088−KLM] (Entered: 09/30/2020)
   09/30/2020   48   RESTRICTED DOCUMENT − Level 1 as to Michael Aaron Tew. (jgonz, ) (Entered:
                     10/02/2020)
   10/01/2020   47   NOTICE of Disposition by Michael Aaron Tew (Harris, Edward) (Entered:
                     10/01/2020)
   10/06/2020   50   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 10/6/20 as to Michael
                     Aaron Tew re 42 Unopposed MOTION to Modify 8 Bond. Motion Hearing set for
                     10/8/2020 1:30 PM in Courtroom A 401 before Magistrate Judge Kristen L. Mix.
                     Text Only Entry (lgale, ) (Entered: 10/06/2020)
   10/07/2020   51   ORDER Setting Change of Plea hearing and Authorizing VTC or Telephone
                     Conference as to Michael Aaron Tew re 47 Notice of Disposition. Change of Plea
                     Hearing set for 10/22/2020 10:30 AM in Courtroom A 702 before Judge Daniel D.
                     Domenico. The change−of−plea hearing in the above−referenced matter shall be
                     conducted by VTC, or by telephone conference if VTC is not reasonably available.
                     By Judge Daniel D. Domenico on 10/07/2020. (athom, ) (Entered: 10/07/2020)
   10/08/2020   52   MINUTE ENTRY for Motion Hearing as to Michael Aaron Tew held before
                     Magistrate Judge Kristen L. Mix on 10/8/2020. Defendant present on bond via video
                     conference. Parties address the Court regarding 42 Motion to Modify as to Michael
                     Aaron Tew (1). For the reasons stated on the record, it is: ORDERED: 42 Motion to
                     Modify as to Michael Aaron Tew (1) is GRANTED. Defendant's bond is modified to
                     remove the condition of home detention. Gps will remain in effect and a 9:00 pm
                     curfew is imposed.Defendant continued on bond. (Total time: 4 minutes, Hearing
                     time: 1:31−1:35)

                     APPEARANCES (ALL PARTIES APPEAR BY VIDEO CONFERENCE):
                     Hetal Doshi and Matthew Kirsch on behalf of the Government, Edward Harris on
                     behalf of the defendant, Carolos Morales on behalf of probation. FTR: KLM
                     Courtroom A401. (lgale, ) Text Only Entry (Entered: 10/08/2020)
   10/21/2020   54   MOTION to Withdraw as Attorney by Edward R. Harris by Michael Aaron Tew.
                     (Harris, Edward) (Entered: 10/21/2020)
   10/21/2020   55   ORDER granting 54 Motion to Withdraw as Attorney. Good cause having been
                     shown, attorney Edward R. Harris is relieved of any further representation in this
                     case. The Clerk of Court is instructed to terminate Mr. Harris as counsel of record,
                     and to remove his name from the electronic certificate of mailing. An attorney from
                     the Criminal Justice Act panel shall be appointed to represent Defendant Michael
                     Aaron Tew. Absent extraordinary circumstances, no further motions to withdraw or
                     motions to substitute counsel will be granted. The court reminds Mr. Tew that
                     counsel is under a duty to provide him prudent and considered advice, even if that
                     advice is not what Mr. Tew hopes to hear. SO ORDERED by Judge Daniel D.
                     Domenico on 10/21/2020. Text Only Entry (dddlc2, ) (Entered: 10/21/2020)
   10/21/2020   56   ORDER VACATING the change of plea hearing as to Michael Aaron Tew. In the
                     light of this court's order granting Edward Harris' motion to withdraw as counsel for
                     Mr. Tew 55 , the change of plea hearing set for tomorrow, 10/22/2020, is hereby
                     VACATED. SO ORDERED by Judge Daniel D. Domenico on 10/21/2020. Text
                     Only Entry (dddlc2, ) (Entered: 10/21/2020)


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   10/21/2020   57   Letter by Michael Aaron Tew. (athom, ) (Entered: 10/21/2020)
   10/22/2020   58   NOTICE OF ATTORNEY APPEARANCE: Thomas Richard Ward appearing for
                     Michael Aaron TewAttorney Thomas Richard Ward added to party Michael Aaron
                     Tew(pty:dft) (Ward, Thomas) (Entered: 10/22/2020)
   10/22/2020   59   MINUTE ORDER re: 47 notice of disposition. Defendant shall file a status report
                     regarding the status of his plea and any other issues he wishes to bring to the court's
                     attention no later than 11/12/2020. SO ORDERED by Judge Daniel D. Domenico on
                     10/22/2020. Text Only Entry (dddlc2, ) (Entered: 10/22/2020)
   10/27/2020   60   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew
                     (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal) (Entered: 10/27/2020)
   10/27/2020   61   Unopposed MOTION for Leave to Restrict by USA as to Michael Aaron Tew.
                     (Attachments: # 1 Proposed Order (PDF Only))(Doshi, Hetal) (Entered: 10/27/2020)
   10/27/2020   62   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew (Doshi,
                     Hetal) (Entered: 10/27/2020)
   10/28/2020   63   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew. (athom, )
                     (Entered: 10/28/2020)
   10/28/2020   64   ORDER granting 61 Motion for Leave to Restrict as to Michael Aaron Tew. By
                     Judge Daniel D. Domenico on 10/28/2020. Text Only Entry (athom, ) (Entered:
                     10/28/2020)
   11/12/2020   65   MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                     11/12/2020)
   11/12/2020   66   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 11/12/2020)
   11/12/2020   67   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 11/12/2020)
   11/13/2020   68   ORDER granting 65 Motion for Leave to Restrict as to Michael Aaron Tew. For
                     good cause shown, documents 66 and 67 shall remain at a Level 2 Restriction. SO
                     ORDERED by Judge Daniel D. Domenico on 11/13/2020. Text Only Entry (dddlc2, )
                     (Entered: 11/13/2020)
   11/13/2020   69   MINUTE ORDER re Status Report 67 . Defendant shall file a status report regarding
                     the status of his plea and any other issues he wishes to bring to the court's attention
                     no later than 12/10/2020. SO ORDERED by Judge Daniel D. Domenico on
                     11/13/2020. Text Only Entry (dddlc2, ) (Entered: 11/13/2020)
   12/10/2020   70   MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                     12/10/2020)
   12/10/2020   71   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 12/10/2020)
   12/10/2020   72   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 12/10/2020)
   12/11/2020   73   ORDER granting 70 Motion for Leave to Restrict as to Michael Aaron Tew (1). For
                     good cause shown, Docs. 71 and 72 shall remain at a Level 2 restriction. Defendant is


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                     further ORDERED to file a status report in this matter no later than noon on
                     12/23/2020. SO ORDERED by Judge Daniel D. Domenico on 12/11/2020. Text Only
                     Entry (dddlc2, ) (Entered: 12/11/2020)
   12/11/2020   74   Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Status Report
                     due by 12/23/2020 pursuant to 73 Order. Text Only Entry (athom, ) (Entered:
                     12/11/2020)
   12/23/2020   75   STATUS REPORT by Michael Aaron Tew (Ward, Thomas) (Entered: 12/23/2020)
   12/28/2020   76   Order regarding status report 75 filed by Michael Aaron Tew. In light of Mr. Tew's
                     withdrawal of his notice of disposition, unless the parties file a motion to the
                     contrary, the court will remove the restriction on the information on 1/4/21. SO
                     ORDERED by Judge Daniel D. Domenico on 12/28/2020. Text Only Entry (dddlc2, )
                     (Entered: 12/28/2020)
   01/04/2021   77   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Ward, Thomas)
                     (Entered: 01/04/2021)
   01/04/2021   78   MOTION for Leave to Restrict by Michael Aaron Tew. (Ward, Thomas) (Entered:
                     01/04/2021)
   01/05/2021   79   MINUTE ORDER as to Defendant Michael Aaron Tew's Motion to Restrict 77 . The
                     government shall file its response in opposition to the motion, if any, no later than
                     1/12/2021. SO ORDERED by Judge Daniel D. Domenico on 1/5/2021. Text Only
                     Entry (dddlc2, ) (Entered: 01/05/2021)
   01/12/2021   80   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Doshi, Hetal)
                     (Entered: 01/12/2021)
   01/20/2021   81   Order Denying 78 Motion to Maintain Restriction on Indictment. Mr. Tew has failed
                     to identify a private interest in restriction of the information in this case sufficient to
                     overcome the presumption in favor of public access to court documents. His motion
                     to restrict access is thus DENIED. The clerk is directed to un−restrict the information
                     in this case, Doc. 49. SO ORDERED by Judge Daniel D. Domenico on 1/20/2021.
                     Text Only Entry (dddlc2, ) (Entered: 01/20/2021)
   01/20/2021   82   ORDER Setting Trial Date and Related Deadlines as to Michael Aaron Tew. Motions
                     due by 2/17/2021. Responses due by 2/24/2021. Five−day Jury Trial set for
                     3/15/2021 at 09:00 AM in Courtroom A 702 before Judge Daniel D. Domenico. Trial
                     Preparation Conference set for 3/3/2021 at 01:30 PM in Courtroom A 702 before
                     Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 01/20/2021. (athom, )
                     (Entered: 01/20/2021)
   02/03/2021   83   INDICTMENT as to Michael Aaron Tew (1) count(s) 1s, 2s−40s, 41s, 42s, 44s−56s,
                     57s−60s, Kimberley Ann Tew (2) count(s) 1, 16, 21−22, 25−26, 31−32, 41, 43−44,
                     47−48, 56, Jonathan K. Yioulos (3) count(s) 1, 2−40. (Attachments: # 1 Penalty
                     Sheet, # 2 Penalty Sheet, # 3 Penalty Sheet) (athom, ) Modified on 2/9/2021 to
                     correct text (athom, ). (Entered: 02/04/2021)
   02/03/2021   84   RESTRICTED DOCUMENT − Level 4 as to Michael Aaron Tew, Kimberley Ann
                     Tew, Jonathan K. Yioulos. (athom, ) (Entered: 02/04/2021)
   02/03/2021   85   Summons Issued as to Michael Aaron Tew. (athom, ) (Entered: 02/04/2021)
   02/03/2021   86


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                      MINUTE ORDER as to Michael Aaron Tew on 02/03/2021. Initial Appearance on
                      Summons set for 2/5/2021 02:00 PM in Courtroom A 401 before Magistrate Judge
                      Kristen L. Mix pursuant to 83 Indictment. Text Only Entry (athom, ) (Entered:
                      02/04/2021)
   02/05/2021    89   MOTION to Modify Conditions of Release by Michael Aaron Tew. (Ward, Thomas)
                      (Entered: 02/05/2021)
   02/05/2021    90   MINUTE ENTRY for Initial Appearance, Arraignment and Discovery Hearing as to
                      Michael Aaron Tew held before Magistrate Judge Kristen L. Mix on 2/5/2021.
                      Defendant present on bond and consents to proceeding via video conference.
                      Defendant advised. Counsel has previously been appointed. Plea of NOT GUILTY
                      entered by defendant. Discovery memorandum executed. Argument by counsel for
                      the government and defense counsel as to 89 Motion to Modify Conditions of
                      Release as to Michael Aaron Tew (1). The Court DENIES 89 Motion to Modify
                      Conditions of Release as to Michael Aaron Tew (1). Defendant's bond continued,
                      Counsel is directed to chambers. (Total time: 29 minutes, Hearing time: 2:21−2:50)

                      APPEARANCES ALL PARTIES APPEAR BY VIDEO CONFERENCE: Hetal
                      Doshi and Matthew Kirsch on behalf of the Government, Tom Ward on behalf of the
                      defendant. FTR: KLM Courtroom A401. (lgale, ) Text Only Entry (Entered:
                      02/05/2021)
   02/05/2021    91   Discovery Conference Memorandum and ORDER: Estimated Trial Time − 8 days as
                      to Michael Aaron Tew by Magistrate Judge Kristen L. Mix on 2/5/21. (lgale, )
                      (Entered: 02/05/2021)
   02/11/2021   101   ORDER Setting Trial Date and Related Deadlines as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. The court EXCLUDES nineteen days
                      from Mr. Tew's Speedy Trial clock. Motions due by 3/12/2021. Responses due by
                      3/17/2021. Eight−day Jury Trial set for 4/19/2021 at 09:00 AM in Courtroom A 702
                      before Judge Daniel D. Domenico. Trial Preparation Conference set for 4/12/2021 at
                      01:30 PM in Courtroom A 702 before Judge Daniel D. Domenico. By Judge Daniel
                      D. Domenico on 02/11/2021. (athom, ) (Entered: 02/11/2021)
   02/25/2021   106   NOTICE OF ATTORNEY APPEARANCE: Tor Bernhard Ekeland appearing for
                      Michael Aaron Tew, Kimberley Ann TewAttorney Tor Bernhard Ekeland added to
                      party Michael Aaron Tew(pty:dft), Attorney Tor Bernhard Ekeland added to party
                      Kimberley Ann Tew(pty:dft) (Ekeland, Tor) (Entered: 02/25/2021)
   02/28/2021   108   MOTION for Hearing Regarding Joint Representation Pursuant to Fed. R. Crim. P.
                      44 by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Doshi, Hetal) (Entered:
                      02/28/2021)
   03/01/2021   109   MINUTE ORDER regarding 108 motion for hearing concerning joint representation
                      of Defendants Michael Aaron Tew and Kimberley Ann Tew. No later than 4:00 PM
                      on 3/4/2021, Mr. Tew, Ms. Tew, and the Government must confer and email the
                      court at domenico_chambers@cod.uscourts.gov with three mutually agreeable dates
                      for a hearing on the Government's motion (Doc. 108) from the following list of dates:
                      3/9/21, 3/10/21, 3/11/21, 3/17/21, or 3/18/21. Mr. and Ms. Tew must file their
                      responses to the Government's motion, if any, no later than 3/5/2021. SO ORDERED
                      by Judge Daniel D. Domenico on 3/1/2021. Text Only Entry (dddlc2, ) (Entered:
                      03/01/2021)
   03/01/2021   110

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                      NOTICE OF ATTORNEY APPEARANCE Andrea Lee Surratt appearing for USA.
                      Attorney Andrea Lee Surratt added to party USA(pty:pla) (Surratt, Andrea) (Entered:
                      03/01/2021)
   03/02/2021   111   MOTION to Withdraw as Attorney by Thomas R. Ward by Michael Aaron Tew.
                      (Ward, Thomas) (Entered: 03/02/2021)
   03/02/2021   112   ORDER setting hearing on 108 motion concerning joint representation and 111
                      motion to withdraw. A hearing on the Government's motion concerning joint
                      representation (Doc. 108) and Thomas R. Ward's motion to withdraw as counsel
                      (Doc. 111) is hereby set for 3/18/2021 at 10:30 AM before Judge Daniel D.
                      Domenico by video−teleconference. Counsel are directed to contact Courtroom
                      Deputy Patti Glover at patricia_glover@cod.uscourts.gov no later than three business
                      days before the hearing for instructions on how to proceed. SO ODERED by Judge
                      Daniel D. Domenico on 3/2/2021. Text Only Entry (dddlc2, ) (Entered: 03/02/2021)
   03/03/2021   113   Unopposed MOTION to Continue Deadline for Production of Discovery by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Doshi, Hetal)
                      (Entered: 03/03/2021)
   03/03/2021   114   ORDER granting 113 Motion to Continue. The Government must produce discovery
                      in this case no later than 14 days after the court rules on the Government's motion
                      concerning joint representation. SO ORDERED by Judge Daniel D. Domenico on
                      3/3/2021. (dddlc2, ) (Entered: 03/03/2021)
   03/11/2021   115   MOTION to Continue FOR A 180−DAY ENDS OF JUSTICE CONTINUANCE
                      UNDER 18 U. S. C. § 3161(h)(7) by Michael Aaron Tew, Kimberley Ann Tew,
                      Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor)
                      (Entered: 03/11/2021)
   03/18/2021   116   MINUTE ENTRY for Motion Hearing as to Michael Aaron Tew, Kimberley Ann
                      Tew, held before Judge Daniel D. Domenico on 3/18/2021. granting 108 Motion for
                      Hearing as to Michael Aaron Tew; Kimberley Ann Tew (2); granting 111 Motion to
                      Withdraw as Attorney. Thomas Richard Ward withdrawn from case as to Michael
                      Aaron Tew granting 115 Motion to Continue as to all defendants. Pretrial Motions
                      due by 8/30/2021, Responses due by 9/6/2021, Jury Trial (8 days) set for 10/12/2021
                      − 10/21/2021 09:00 AM; Trial Preparation Conference set for 9/27/2021 at 10:30 AM
                      all in Courtroom A 702 before Judge Daniel D. Domenico Court Reporter: Tracy
                      Weir. (pglov) (Entered: 03/18/2021)
   03/29/2021   119   MOTION for Leave to Restrict by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF Only))(Doshi,
                      Hetal) (Entered: 03/29/2021)
   03/29/2021   120   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos (Doshi, Hetal) (Entered: 03/29/2021)
   03/29/2021   121   RESTRICTED DOCUMENT − Level 1: by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos (Doshi, Hetal) (Entered: 03/29/2021)
   03/30/2021   124   RESTRICTED DOCUMENT − Level 1: as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (athom, ) (Entered: 03/30/2021)
   03/30/2021   125   ORDER granting 119 Motion for Leave to Restrict as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. By Judge Daniel D. Domenico on
                      03/30/2021. Text Only Entry (athom, ) (Entered: 03/30/2021)

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   03/31/2021   126   Unopposed MOTION for Protective Order by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Proposed Order (PDF
                      Only))(Doshi, Hetal) (Entered: 03/31/2021)
   04/01/2021   127   ORDER Granting 126 Unopposed Motion for Protective Order as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. By Judge Daniel D. Domenico on
                      04/01/2021. (athom, ) (Entered: 04/01/2021)
   05/13/2021   128   TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS as to Michael Aaron Tew
                      held on 02/05/2021 before Magistrate Judge Mix. Pages: 1−24. Prepared by: AB
                      Litigation Services.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (AB Court Reporting & Video, Inc., ) (Entered: 05/13/2021)
   06/18/2021   133   NOTICE OF DEFENDANT KIMBERLEY TEWS MEMORANDUM IN SUPPORT
                      TO MODIFY THE CONDITIONS OF HER RELEASE by Kimberley Ann Tew
                      (Ekeland, Tor) Modified on 7/2/2021 to correct filer (athom, ). (Entered: 06/18/2021)
   06/18/2021   134   MOTION to Modify Conditions of Release by Kimberley Ann Tew. (Attachments: #
                      1 Affidavit Decl Kimbery Tew ISO Motion to Modify the Conditions)(Ekeland, Tor)
                      Modified on 7/2/2021 to correct filer (athom, ). (Entered: 06/18/2021)
   06/23/2021   136   NOTICE OF ATTORNEY APPEARANCE: Michael Hassard appearing for Michael
                      Aaron Tew, Kimberley Ann TewAttorney Michael Hassard added to party Michael
                      Aaron Tew(pty:dft), Attorney Michael Hassard added to party Kimberley Ann
                      Tew(pty:dft) (Hassard, Michael) (Entered: 06/23/2021)
   08/10/2021   143   Second MOTION to Continue by Michael Aaron Tew, Kimberley Ann Tew.
                      (Hassard, Michael) Modified on 8/11/2021 to correct applicable parties (athom, ).
                      (Entered: 08/10/2021)
   09/17/2021   146   WITHDRAWN − Unopposed MOTION to Travel MOTION UPON ATTORNEY
                      DECLARATION SEEKING ORDER PERMITTING TRAVEL BEYOND PRE−TRIAL
                      RELEASE ORDER AT PARAGRAPH 7(f) by Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) Modified on
                      9/20/2021 to correct filers (athom, ). Modified on 2/4/2022 to withdraw pursuant to
                      173 Order (athom, ). (Entered: 09/17/2021)
   09/17/2021   147   MOTION to Withdraw as Attorney by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos. (Kirsch, Matthew) (Entered: 09/17/2021)
   09/20/2021   148   MOTION to Withdraw Document 146 Unopposed MOTION to Travel MOTION
                      UPON ATTORNEY DECLARATION SEEKING ORDER PERMITTING TRAVEL
                      BEYOND PRE−TRIAL RELEASE ORDER AT PARAGRAPH 7(f) by Michael Aaron
                      Tew, Kimberley Ann Tew. (Ekeland, Tor) Modified on 9/22/2021 to correct filers


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                      (athom, ). (Entered: 09/20/2021)
   09/22/2021   149   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' Unopposed
                      Motion for a 12−Month Ends of Justice Continuance (Doc. 143 ) is PARTIALLY
                      GRANTED. One hundred eighty (180) days, from 9/22/2021 to 3/21/2022, will be
                      excluded from the computation of Defendants' Michael Tew and Kimberley Tew's
                      Speedy Trial Act time. Motions due by 1/3/2022. Responses due by 1/10/2022. The
                      eight−day Jury Trial set to begin 10/12/2021 is VACATED and RESET to 4/4/2022
                      at 09:00 AM in Courtroom A1002 before Judge Daniel D. Domenico. The Trial
                      Preparation Conference set for 09/27/2021 is VACATED and RESET to 3/21/2022 at
                      01:00 PM in Courtroom A1002 before Judge Daniel D. Domenico. By Judge Daniel
                      D. Domenico on 09/22/2021. (athom, ) (Entered: 09/22/2021)
   10/12/2021   151   NOTICE OF ATTORNEY APPEARANCE: Tor Bernhard Ekeland Attorney Xuan
                      Zhou appearing for Michael Aaron Tew and Kimberley Ann Tew appearing for
                      Michael Aaron Tew, Kimberley Ann Tew (Ekeland, Tor) Modified on 10/13/2021 to
                      correct applicable parties (athom, ). (Entered: 10/12/2021)
   10/13/2021   152   NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES: re: 151
                      Notice of Attorney Appearance − Defendant, filed by attorney Xuan Zhou. The
                      s/signature did not match the filers name on the account for which the login and
                      password are registered. Future documents must be filed pursuant to
                      D.C.COLO.LCivR 49.1(a) and 4.3(c) of the Electronic Case Filing Procedures
                      (Criminal Cases). Attorney Xuan Zhou has failed to comply D.C.COLO.LCr49.1(a)
                      and 4.3(d) of the Electronic Case Filing Procedures (Criminal Cases), which mandate
                      the correct form for an attorneys signature block. This document does not have a s/
                      signature and must be re−filed. Xuan Zhou must re−file the above referenced
                      document which must contain her s/ signature using her own log in and password.
                      Counsel is REMINDED that your firm does not represent defendant Yioulos.
                      UNLESS you are filing a joint pleading that pertains to defendant Yioulos, you
                      should ONLY be selecting the Tew defendants as the filers and as the applicable
                      parties. If you are unclear about how documents should be filed and/or which
                      parties should be selected when filing your documents, please contact the Clerk's
                      office for assistance or clarification. (Text Only Entry) (athom, ) (Entered:
                      10/13/2021)
   11/17/2021   153   ORDER GRANTING 147 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Matthew T. Kirsch as counsel of record, and to
                      remove this name from the electronic certificate of mailing. Plaintiff United States of
                      America will continue to be represented by attorneys Hetal Doshi and Andrea Surratt.
                      SO ORDERED by Judge Daniel D. Domenico on 11/17/2021. Text Only Entry
                      (dddlc4) (Entered: 11/17/2021)
   11/19/2021   157   NOTICE OF ATTORNEY APPEARANCE: Xuan Zhou appearing for Michael
                      Aaron Tew, Kimberley Ann TewAttorney Xuan Zhou added to party Michael Aaron
                      Tew(pty:dft), Attorney Xuan Zhou added to party Kimberley Ann Tew(pty:dft)
                      (Zhou, Xuan) (Entered: 11/19/2021)
   11/29/2021   158   NOTICE OF ATTORNEY APPEARANCE Bryan David Fields appearing for USA.
                      Attorney Bryan David Fields added to party USA(pty:pla) (Fields, Bryan) (Entered:
                      11/29/2021)
   11/29/2021   159   MOTION to Withdraw as Attorney by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos. (Doshi, Hetal) (Entered: 11/29/2021)


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   12/27/2021   162   MOTION to Withdraw as Attorney by Tor Ekeland by Michael Aaron Tew,
                      Kimberley Ann Tew. (Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021   163   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021   164   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021   165   Third MOTION to Continue by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Proposed Order (PDF Only))(Ekeland, Tor) (Entered: 12/27/2021)
   12/27/2021   166   MOTION to Withdraw as Attorney by Xuan Zhou by Michael Aaron Tew,
                      Kimberley Ann Tew. (Zhou, Xuan) (Entered: 12/27/2021)
   12/27/2021   167   MOTION to Withdraw as Attorney by Michael Hassard by Michael Aaron Tew,
                      Kimberley Ann Tew. (Hassard, Michael) (Entered: 12/27/2021)
   01/31/2022   169   ORDER REFERRING MOTIONS as to Michael Aaron Tew, Kimberley Ann Tew.
                      167 MOTION to Withdraw as Attorney by Michael Hassard filed by Michael Aaron
                      Tew, Kimberley Ann Tew, 162 MOTION to Withdraw as Attorney by Tor Ekeland
                      filed by Michael Aaron Tew, Kimberley Ann Tew, 159 MOTION to Withdraw as
                      Attorney filed by USA, 166 MOTION to Withdraw as Attorney by Xuan Zhou filed
                      by Michael Aaron Tew, Kimberley Ann Tew. Motions referred to Magistrate Judge
                      Kristen L. Mix. SO ORDERED by Judge Daniel D. Domenico on 1/31/2022. Text
                      Only Entry (dddlc2, ) (Entered: 01/31/2022)
   02/02/2022   171   ORDER granting 159 Motion to Withdraw as Attorney. Hetal Janak Doshi
                      withdrawn from case as to Michael Aaron Tew (1), Kimberley Ann Tew (2),
                      Jonathan K. Yioulos (3). Attorney Hetal Doshi is relieved of any further
                      representation of the United States in this case. The Clerk of Court is instructed to
                      terminate Attorney Doshi as counsel of record, and to remove this name from the
                      electronic certificate of mailing. The Government shall continue to be represented by
                      Attorney Bryan Fields. by Magistrate Judge Kristen L. Mix on 2/2/2022. Text Only
                      Entry (klmlc2, ) (Entered: 02/02/2022)
   02/02/2022   172   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 167 MOTION
                      to Withdraw as Attorney by Michael Hassard filed by Michael Aaron Tew,
                      Kimberley Ann Tew, 162 MOTION to Withdraw as Attorney by Tor Ekeland filed
                      by Michael Aaron Tew, Kimberley Ann Tew, 166 MOTION to Withdraw as
                      Attorney by Xuan Zhou filed by Michael Aaron Tew, Kimberley Ann Tew.
                      Defendant Michael Tew and Defendant Kimberley Tew shall each file a separate
                      financial affidavit under restriction at Level 3 NO LATER THAN FEBRUARY 14,
                      2022. by Magistrate Judge Kristen L. Mix on 2/2/2022. Text Only Entry (klmlc2, )
                      (Entered: 02/02/2022)
   02/02/2022   173   ORDER. The Motion to Withdraw Document 148 as to Michael Aaron Tew and
                      Kimberly Ann Tew is GRANTED. Accordingly, the Motion to Travel 146 is
                      DENIED AS MOOT. SO ORDERED by Judge Daniel D. Domenico on 2/2/2022.
                      Text Only Entry (dddlc2, ) (Entered: 02/02/2022)
   02/04/2022   174   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' counsel Motion
                      for a 3−Month Ends of Justice Continuance (Doc. 165 ) is GRANTED. Ninety (90)
                      days, from 2/4/2022 to 5/5/2022, will be excluded from the computation of
                      Defendants' Michael Tew and Kimberley Tew's Speedy Trial Act time. Motions due


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                      by 5/12/2022. Responses due by 5/19/2022. The eight−day Jury Trial set to begin
                      4/4/2022 is VACATED and RESET to 6/13/2022 at 09:00 AM in Courtroom A1002
                      before Judge Daniel D. Domenico. The Trial Preparation Conference set for
                      3/21/2022 is VACATED and RESET to 6/2/2022 at 03:30 PM in Courtroom A1002
                      before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on 02/04/2022.
                      (athom, ) (Entered: 02/04/2022)
   02/10/2022   175   Pro Se Letter by Michael Aaron Tew, Kimberley Ann Tew. (athom, ) (Entered:
                      02/10/2022)
   02/10/2022   176   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 175
                      MOTION for Extension of Time to File filed by Michael Aaron Tew, Kimberley Ann
                      Tew. SO ORDERED by Judge Daniel D. Domenico on 2/10/2022. Text Only Entry
                      (dddlc2, ) (Entered: 02/10/2022)
   02/14/2022   177   MINUTE ORDER by Magistrate Judge Kristen L. Mix on February 14, 2022. This
                      matter is before the Court on Defendants' Motion for Extension of Time 175 (the
                      "Motion"). Defendants ask for a two−week extension to file financial affidavits
                      because they "are currently reviewing an engagement letter with a law firm based in
                      Denver" and, therefore, may not require appointment of counsel through the CJA. IT
                      IS HEREBY ORDERED that the Motion 175 is GRANTED. The deadline for each
                      Defendant to file a separate financial affidavit under restriction at Level 3 is extended
                      to February 28, 2022. (csarr, ) (Entered: 02/14/2022)
   02/25/2022   178   NOTICE OF ATTORNEY APPEARANCE: Peter R. Bornstein appearing for
                      Michael Aaron Tew, Kimberley Ann TewAttorney Peter R. Bornstein added to party
                      Michael Aaron Tew(pty:dft), Attorney Peter R. Bornstein added to party Kimberley
                      Ann Tew(pty:dft) (Bornstein, Peter) (Entered: 02/25/2022)
   03/04/2022   179   Order. Defense counsel is directed to file a status report on or before 3/10/2022
                      confirming that he has discussed the potential conflicts of interest that joint
                      representation of criminal codefendants may raise with his clients, and that they each
                      continue to understand these dangers and risks and continue to consent to proceeding
                      with joint counsel in spite of them. SO ORDERED by Judge Daniel D. Domenico on
                      3/4/2022. Text Only Entry (dddlc2, ) (Entered: 03/04/2022)
   03/07/2022   180   ORDER granting 162 Motion to Withdraw as Attorney. Attorney Tor Ekeland is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Ekeland as counsel of record,
                      and to remove this name from the electronic certificate of mailing. Defendants
                      Michael Tew and Kimberly Tew shall continue to be represented by Attorneys
                      Michael Hassard, Peter Bornstein, and Xuan Zhou. by Magistrate Judge Kristen L.
                      Mix on 3/7/2022. Text Only Entry (klmlc2, ) (Entered: 03/07/2022)
   03/07/2022   181   ORDER granting 166 Motion to Withdraw as Attorney. Attorney Xuan Zhou is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Zhou as counsel of record, and
                      to remove this name from the electronic certificate of mailing. Defendants Michael
                      Tew and Kimberly Tew shall continue to be represented by Attorneys Michael
                      Hassard and Peter Bornstein. by Magistrate Judge Kristen L. Mix on 3/7/2022. Text
                      Only Entry (klmlc2, ) (Entered: 03/07/2022)
   03/07/2022   182   ORDER granting 167 Motion to Withdraw as Attorney. Attorney Michael Hassard is
                      relieved of any further representation of Defendants Michael Tew and Kimberly Tew.
                      The Clerk of Court is instructed to terminate Attorney Hassard as counsel of record,

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                      and to remove this name from the electronic certificate of mailing. Defendants
                      Michael Tew and Kimberly Tew shall continue to be represented by Attorney Peter
                      Bornstein. by Magistrate Judge Kristen L. Mix on 3/7/2022. Text Only Entry
                      (klmlc2, ) (Entered: 03/07/2022)
   03/09/2022   183   Unopposed MOTION to Travel by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 03/09/2022)
   03/10/2022   184   STATUS REPORT by Michael Aaron Tew, Kimberley Ann Tew (Bornstein, Peter)
                      (Entered: 03/10/2022)
   03/14/2022   185   Order granting 183 Motion to travel. Defendants Michael and Kimberly Tew may
                      travel out of state with their children for spring break as requested in their motion.
                      Their pretrial monitoring is modified to stand−alone location monitoring without a
                      curfew. SO ORDERED by Judge Daniel D. Domenico on 3/14/2022. Text Only
                      Entry (dddlc2, ) (Entered: 03/14/2022)
   03/31/2022   192   ORDER granting 164 Motion for Leave to Restrict. Doc. 163 is restricted at Level 3.
                      SO ORDERED by Judge Daniel D. Domenico on 3/31/2022. Text Only Entry
                      (dddlc2, ) (Entered: 03/31/2022)
   04/26/2022   193   Unopposed MOTION to Continue Trial and for Ends of Justice Finding Pursuant to
                      18 U.S.C. § 3161(h)(7) by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein,
                      Peter) (Entered: 04/26/2022)
   05/10/2022   194   Unopposed MOTION for Leave to File Excess Pages for Motion to Suppress by
                      Michael Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 05/10/2022)
   05/12/2022   195   ORDER granting 194 Motion for Leave to File Excess Pages as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). The defendants have 6000 words for their motion
                      to suppress and the government has the same number for its response. SO
                      ORDERED by Judge Daniel D. Domenico on 5/12/2022. Text Only Entry (dddlc2, )
                      (Entered: 05/12/2022)
   05/12/2022   196   Unopposed MOTION for Extension of Time to File Pre−Trial Motions by Michael
                      Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 05/12/2022)
   05/12/2022   197   Unopposed MOTION for Reconsideration re 195 Order on Motion for Leave to File
                      Excess Pages, Motion to Suppress by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 05/12/2022)
   05/12/2022   198   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. Defendants' Motion to
                      Continue Trial and for an Ends of Justice Finding (Doc. 193 ) is GRANTED. One
                      hundred and eighty (180) days, from 5/12/2022 to 11/8/2022, will be excluded from
                      the computation of Defendants' Michael Tew and Kimberley Tew's Speedy Trial Act
                      time. The deadline to file motions to suppress remains 5/12/2022. Other pretrial
                      Motions due by 6/13/2022. Responses due by 6/20/2022. The eight−day Jury Trial
                      set for 06/13/2022 is VACATED and RESET to 12/5/2022 at 09:00 AM in
                      Courtroom A1002 before Judge Daniel D. Domenico. The Trial Preparation
                      Conference set for 6/2/2022 is VACATED and RESET to 11/29/2022 at 03:30 PM in
                      Courtroom A1002 before Judge Daniel D. Domenico. By Judge Daniel D. Domenico
                      on 05/12/2022. (athom, ) (Entered: 05/12/2022)
   05/12/2022   199   ORDER granting 197 Motion for Reconsideration re 197 Unopposed MOTION for
                      Reconsideration re 195 Order on Motion for Leave to File Excess Pages, Motion to
                      Suppress filed by Michael Aaron Tew, Kimberley Ann Tew as to Michael Aaron

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                      Tew (1), Kimberley Ann Tew (2). The defendants have 12,000 words for their
                      motion to suppress, and the government has the same number with which to respond.
                      SO ORDERED by Judge Daniel D. Domenico on 5/12/2022. Text Only Entry
                      (dddlc2, ) (Entered: 05/12/2022)
   05/12/2022   200   Motion to Suppress Evidence by Michael Aaron Tew, Kimberley Ann Tew.
                      (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                      E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                      Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16
                      Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21
                      Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit X, # 25 Exhibit Y, # 26
                      Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB)(Bornstein, Peter) Modified on
                      8/22/2022 to add document title and un restrict Motion ONLY per 244 Response.
                      (sphil, ). Modified on 10/28/2022 to add text and correct event (athom, ). (Entered:
                      05/12/2022)
   05/12/2022   201   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 05/12/2022)
   05/18/2022   202   Unopposed MOTION for Extension of Time to File Response/Reply as to 200
                      Restricted Document − Level 1,, by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Fields, Bryan) (Entered: 05/18/2022)
   05/19/2022   203   NOTICE OF ATTORNEY APPEARANCE Albert C. Buchman appearing for USA.
                      Attorney Albert C. Buchman added to party USA(pty:pla) (Buchman, Albert)
                      (Entered: 05/19/2022)
   05/19/2022   204   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 201 MOTION for Leave to Restrict (Response to Motion to Suppress, ECF No.
                      200) (Attachments: # 1 Government Filter Memo, # 2 Filter Memo − Attachment 1, #
                      3 Filter Memo − Attachment 2, # 4 Filter Memo − Attachment 3, # 5 Filter Memo −
                      Attachment 4, # 6 Filter Memo − Attachment 5, # 7 Filter Memo − Attachment 6, # 8
                      Filter Memo − Attachment 7, # 9 Filter Memo − Attachment 8, # 10 Filter Memo −
                      Attachment 9)(Fields, Bryan) (Entered: 05/19/2022)
   05/20/2022   205   MOTION to Withdraw as Attorney by Andrea Surratt by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Surratt, Andrea) (Entered:
                      05/20/2022)
   05/20/2022   208   ORDER granting 202 Motion for Extension of Time to File Response/Reply. The
                      government has until and including 6/9/2022 to file a response to the motion to
                      suppress. SO ORDERED by Judge Daniel D. Domenico on 5/20/2022. Text Only
                      Entry (dddlc2, ) (Entered: 05/20/2022)
   05/25/2022   209   MOTION to Disclose Grand Jury Material to Defendant by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Proposed Order (PDF
                      Only))(Fields, Bryan) (Entered: 05/25/2022)
   05/25/2022   210   Unopposed MOTION for Leave to File Reply to Government's Response to
                      Defendant's Motion to Suppress Evidence by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 05/25/2022)
   06/13/2022   212   Unopposed MOTION for Order Requiring the Government to Submit Expert Witness
                      Opinions 120 Days Before Trial by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 06/13/2022)


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   06/13/2022   213   Unopposed MOTION for Leave to File Additional Motions by Michael Aaron Tew,
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   214   MOTION for Sanctions for Violating Communication Privileges by Michael Aaron
                      Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   215   MOTION for Franks Hearing by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   216   MOTION to Suppress the Use of Statements by Michael Aaron Tew. (Bornstein,
                      Peter) (Entered: 06/13/2022)
   06/13/2022   217   Unopposed MOTION for Extension of Time to File Response/Reply to Defendant
                      Motions Filed on June 13, 2022 by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Fields, Bryan) (Entered: 06/13/2022)
   06/13/2022   219   MOTION for James Hearing and for Government to File a James Proffer by Michael
                      Aaron Tew. (Bornstein, Peter) (Entered: 06/13/2022)
   06/13/2022   221   MOTION to Suppress Evidence from Search of 3222 East First Avenue, Apartment
                      224 by Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit A, # 2
                      Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Bornstein, Peter) (Entered: 06/13/2022)
   06/16/2022   222   ORDER GRANTING 205 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Andrea Surratt as counsel of record, and to remove
                      this name from the electronic certificate of mailing. Plaintiff United States will
                      continue to be represented by attorney Bryan Fields and Albert Buchman. SO
                      ORDERED by Judge Daniel D. Domenico on 6/16/2022. Text Only Entry (dddlc2, )
                      (Entered: 06/16/2022)
   06/16/2022   223   ORDER GRANTING 210 Motion for Leave to File a Reply. Defendants have 5000
                      words for a reply to be filed on or before 6/22/2022. SO ORDERED by Judge Daniel
                      D. Domenico on 6/16/2022. Text Only Entry (dddlc2, ) (Entered: 06/16/2022)
   06/16/2022   224   ORDER Granting 209 Motion to Disclose Grand Jury Material as to Michael Aaron
                      Tew, Kimberley Ann Tew. By Judge Daniel D. Domenico on 06/16/2022. (athom, )
                      (Entered: 06/16/2022)
   06/22/2022   226   REPLY by Michael Aaron Tew, Kimberley Ann Tew in Support of Motion to
                      Suppress Evidence [Doc.200−Restricted] (Bornstein, Peter) (Entered: 06/22/2022)
   07/14/2022   228   ORDER granting 217 Motion for Extension of Time to File Response/Reply. The
                      government has until and including 8/9/2022 to file responses to the motions filed on
                      6/13/2022. SO ORDERED by Judge Daniel D. Domenico on 8/14/2022. Text Only
                      Entry (dddlc2, ) (Entered: 07/14/2022)
   08/09/2022   229   NOTICE of Conventional Filing Exhibit 1−3 by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   230   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 218 MOTION to Sever Defendant (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   231   REPLY TO RESPONSE to Motion by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew re 219 MOTION for James Hearing and for Government to File a James
                      Proffer (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   232


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                      RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 220 MOTION for James Hearing and for Government to File a James Proffer
                      (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   233   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 215 MOTION for Franks Hearing (Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   234   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 214 MOTION for Sanctions for Violating Communication Privileges (Buchman,
                      Albert) (Entered: 08/09/2022)
   08/09/2022   235   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 216 MOTION to Suppress the Use of Statements (Attachments: # 1 Conventionally
                      Submitted, # 2 Conventionally Submitted)(Buchman, Albert) (Entered: 08/09/2022)
   08/09/2022   236   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 221 MOTION to Suppress Evidence from Search of 3222 East First Avenue,
                      Apartment 224 (Attachments: # 1 Conventionally Submitted)(Buchman, Albert)
                      (Entered: 08/09/2022)
   08/09/2022   237   Conventionally Submitted Material : 1 Card USB Flash Drive: Exhibit 1 and Exhibit
                      2 to Response in Opposition 235 re 229 Notice, by Plaintiff USA. Material placed in
                      the oversized filing area Area D−5−5 of the Clerk's Office. Text Only Entry (athom, )
                      (submitted additional copy of USB placed in Chambers' mail box) (Entered:
                      08/11/2022)
   08/12/2022   238   ORDER GRANTING IN PART 201 Motion for Leave to File Motion to Suppress
                      Evidence as Restricted Level 1.

                      I must narrowly tailor any restrictions on public access, and must consider whether
                      supplying a redacted version of a document in lieu of restricting access to the entire
                      document would adequately protect the interests of the party seeking restriction.
                      United States v. Walker, 761 F. App'x 822, 835 (10th Cir. 2019); Local Civ. R.
                      7.2(c)(4). Defendants Michael and Kimberly Tew have not shown that redacting the
                      identified financial, medical, and other personal information from the motion to
                      suppress is impracticable or would not adequately protect the privacy interests at
                      stake.

                      Accordingly, the motion for leave to restrict is GRANTED IN PART with respect to
                      the exhibits to the motion only. The Clerk of Court is directed to maintain Doc. 200
                      and Docs. 200−1 to 200−28 under Level 1 restriction. Plaintiff must file a public
                      redacted version of the motion to suppress (Doc. 200 ) on or before 8/19/2022.

                      SO ORDERED by Judge Daniel D. Domenico on 8/12/2022. Text Only Entry
                      (dddlc1, ) (Entered: 08/12/2022)
   08/12/2022   239   ORDER GRANTING IN PART 212 Defendants' Unopposed Motion to Require the
                      Government to Submit Expert Witness Opinions 120 Days Before Trial.

                      Expert witness disclosures pursuant to Federal Rule of Criminal Procedure
                      16(a)(1)(G) and (b)(1)(C) must be made no later than 8/19/2022, and any challenges
                      to such experts must be made no later than 9/9/2022.

                      Rebuttal expert witness disclosures must be made no later than 9/16/2022, and any


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                      challenges to such rebuttal experts must be made no later than 10/7/2022.

                      SO ORDERED by Judge Daniel D. Domenico on 8/12/2022. Text Only Entry
                      (dddlc1, ) (Entered: 08/12/2022)
   08/15/2022   240   Unopposed MOTION for Leave to File Replies to Government's Responses to
                      Motions by Michael Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered:
                      08/15/2022)
   08/15/2022   241   ORDER REGARDING PRETRIAL DEADLINES AND PENDING MOTIONS.

                      Defendants' Unopposed Motion for Leave to File Additional Motions (Doc. 213 ) is
                      GRANTED. Motions due 9/13/2022. Responses due 9/27/2022. No replies will be
                      permitted without prior leave of the Court.

                      Defendants' Unopposed Motion for Leave to File Replies to Government's Responses
                      to Motions (Doc. 240 ) is GRANTED. Replies due 8/23/2022.

                      A Motions Hearing is SET for 10/18/2022 at 10:30 AM in Courtroom A1002 before
                      Judge Daniel D. Domenico.

                      Due to a conflict on the Court's calendar, the eight−day Jury Trial set for 12/5/2022 is
                      VACATED and RESET to commence on 12/12/2022 at 09:00 AM in Courtroom
                      A1002. Counsel and pro se parties must be present at 08:30 AM on the first day of
                      trial. Due to a conflict on the Court's calendar, the Trial Preparation Conference set
                      for 11/29/2022 is VACATED and RESET to 11/22/2022 at 01:30 PM in Courtroom
                      A1002. See written Order for pretrial deadlines.

                      SO ORDERED by Judge Daniel D. Domenico on 8/15/2022. (dddlc1, ) (Entered:
                      08/15/2022)
   08/18/2022   242   Unopposed MOTION for Order to Reschedule Hearing Date on Motion by Michael
                      Aaron Tew, Kimberley Ann Tew. (Bornstein, Peter) (Entered: 08/18/2022)
   08/18/2022   243   ORDER GRANTING 242 Unopposed Motion to Reschedule Hearing Date on
                      Motions as to Michael Aaron Tew (1), Kimberley Ann Tew (2). The Motions
                      Hearing set for 10/18/2022 is VACATED and RESET to 10/12/2022 at 09:30 AM in
                      Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by Judge
                      Daniel D. Domenico on 8/18/2022. Text Only Entry (dddlc1, ) (Entered: 08/18/2022)
   08/19/2022   244   RESPONSE by Michael Aaron Tew, Kimberley Ann Tew re: 238 Order on Motion
                      for Leave to Restrict,,,, (Bornstein, Peter) (Entered: 08/19/2022)
   08/23/2022   245   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      214 MOTION for Sanctions for Violating Communication Privileges (Bornstein,
                      Peter) (Entered: 08/23/2022)
   08/23/2022   246   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      221 MOTION to Suppress Evidence from Search of 3222 East First Avenue,
                      Apartment 224 (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022   247   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      219 MOTION for James Hearing and for Government to File a James Proffer, 220
                      MOTION for James Hearing and for Government to File a James Proffer (Bornstein,
                      Peter) (Entered: 08/23/2022)

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   08/23/2022   249   REPLY TO RESPONSE to Motion by Michael Aaron Tew re 216 MOTION to
                      Suppress the Use of Statements (Bornstein, Peter) (Entered: 08/23/2022)
   08/23/2022   250   REPLY TO RESPONSE to Motion by Michael Aaron Tew, Kimberley Ann Tew re
                      215 MOTION for Franks Hearing (Attachments: # 1 Affidavit Declaration of
                      Michael A. Tew, # 2 Affidavit Declaration of Kimberley A. Tew)(Bornstein, Peter)
                      (Entered: 08/23/2022)
   10/07/2022   253   EXHIBIT LIST for Suppression Hearing of October 12, 2022 by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Proposed Exhibit List)(Fields,
                      Bryan) (Entered: 10/07/2022)
   10/07/2022   254   WITNESS LIST for Suppression Hearing of October 12, 2022 by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Proposed Witness List)(Fields,
                      Bryan) (Entered: 10/07/2022)
   10/12/2022   255   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Suppression Hearing as to Michael Aaron Tew, Kimberley Ann Tew held on
                      10/12/2022. Taking under advisement 214 Motion for Sanctions as to Michael Aaron
                      Tew (1), Kimberley Ann Tew (2). Denying 215 Motion for Franks Hearing as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2). Taking under advisement 216
                      Motion to Suppress as to Michael Aaron Tew (1). Taking under advisement 200
                      Defendants Motion. Denying 219 Motion for James Hearing as to Michael Aaron
                      Tew (1). Taking under advisement 221 Motion to Suppress as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2). Taking under advisement 218 Motion to Sever
                      Defendant as to Kimberley Ann Tew (2). Taking under advisement 220 Motion for
                      James Hearing as to Kimberley Ann Tew (2). Bond continued as to both defendants.
                      Court Reporter: Julie Thomas. (rkeec) (Entered: 10/13/2022)
   10/12/2022   256   WITNESS LIST by USA as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      With date and time testified. (rkeec) (Entered: 10/13/2022)
   10/12/2022   257   EXHIBIT LIST by USA as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      (rkeec) (Entered: 10/13/2022)
   10/27/2022   258   ORDER Denying 221 Motion to Suppress Evidence from Search of 3222 East First
                      Avenue, Apartment 224 as to Michael Aaron Tew, Kimberley Ann Tew. By Judge
                      Daniel D. Domenico on 10/27/2022. (athom, ) (Entered: 10/28/2022)
   10/27/2022   259   ORDER as to Michael Aaron Tew. Mr. Tew's Motion to Suppress the Use of
                      Statements (Doc. 216 ) is DENIED. By Judge Daniel D. Domenico on 10/27/2022.
                      (athom, ) (Entered: 10/28/2022)
   10/27/2022   261   ORDER Denying 214 Motion for Sanctions as to Michael Aaron Tew, Kimberley
                      Ann Tew. By Judge Daniel D. Domenico on 10/27/2022. (athom, ) (Entered:
                      10/28/2022)
   10/27/2022   262   ORDER Denying 200 Motion to Suppress Evidence as to Michael Aaron Tew,
                      Kimberley Ann Tew. By Judge Daniel D. Domenico on 10/27/2022. (athom, )
                      (Entered: 10/28/2022)
   10/28/2022   263   ORDER GRANTING IN PART 220 Defendant Kimberly Ann Tew's Motion for a
                      James Proffer and Hearing. Ms. Tew's request for the Government to file a James
                      proffer and for the Court to hold a James hearing is granted, though not on the
                      timeline requested.


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                      The Government must file any statements it will seek to admit at trial under Federal
                      Rule of Evidence 801(d)(2)(E) in the form of a James log, along with the referenced
                      exhibits and an accompanying brief, on or before 1/6/2023. The defendants must file
                      their responses to the Government's James log and brief on or before 1/20/2023. A
                      James Hearing is SET for 1/26/2023 at 09:30 AM in Courtroom A1002 before Judge
                      Daniel D. Domenico.

                      In light of the above, the Trial Preparation Conference set for 11/22/2022 is
                      VACATED and RESET for 3/7/2022 at 09:30 AM in Courtroom A1002, and the
                      eight−day Jury Trial set for 12/12/2022 is VACATED and RESET for 3/13/2023 at
                      09:00 AM in Courtroom A1002. Counsel and pro se parties must be present at 08:30
                      AM on the first day of trial. Pretrial deadlines remain as stated in the Court's Order
                      Regarding Pretrial Deadlines and Pending Motions (Doc. 241 ).

                      SO ORDERED by Judge Daniel D. Domenico on 10/28/2022. Text Only Entry
                      (dddlc1, ) (Entered: 10/28/2022)
   11/15/2022   264   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 11/15/2022)
   11/15/2022   265   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 11/15/2022)
   11/15/2022   266   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Exhibit A)(Bornstein, Peter) (Entered: 11/15/2022)
   11/16/2022   267   Unopposed MOTION to Travel Out of State by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 11/16/2022)
   11/17/2022   268   ORDER granting 267 Motion to Travel as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2). Mr. and Mrs. Tew are granted permission to leave the state of Colorado and
                      travel to Marquette, Michigan with their children from 11/18/2022 until 11/27/2022.
                      SO ORDERED by Judge Daniel D. Domenico on 11/17/2022. Text Only Entry
                      (dddlc5, ) (Entered: 11/17/2022)
   11/17/2022   269   ORDER granting 264 Motion for Leave to Restrict 265 Restricted Document − Level
                      3, 266 Restricted Document − Level 3 as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2). The Clerk of Court is directed to maintain 265 and 266 UNDER
                      RESTRICTION at LEVEL 3. SO ORDERED by Judge Daniel D. Domenico on
                      11/17/2022. Text Only Entry (dddlc5, ) (Entered: 11/17/2022)
   11/29/2022   272   Order Regarding Motion for Subpoenas as to Michael Aaron Tew and Kimberley
                      Ann Tew. (angar, ) Modified on 11/29/2022 to correct restriction level and title
                      (angar, ). (Entered: 11/29/2022)
   12/01/2022   273   MOTION to Withdraw as Attorney by Peter R. Bornstein by Michael Aaron Tew,
                      Kimberley Ann Tew. (Bornstein, Peter) (Entered: 12/01/2022)
   12/01/2022   274   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 273
                      MOTION to Withdraw as Attorney by Peter R. Bornstein. Motion referred to
                      Magistrate Judge Kristen L. Mix, by Judge Daniel D. Domenico on 12/01/2022. Text
                      Only Entry (dddlc5, ) Modified on 12/5/2022 to add text (athom, ). (Entered:
                      12/01/2022)
   12/02/2022   275


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                      MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/02/2022. IT IS
                      HEREBY ORDERED that the Motion 273 is GRANTED as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2). Mr. Bornstein is permitted to withdraw as counsel for
                      Defendants. IT IS FURTHER ORDERED that on or before December 16, 2022,
                      Defendants shall have replacement counsel enter an appearance or, if they believe
                      they are entitled to appointment of CJA counsel to represent them, shall each file a
                      financial affidavit under restriction at Level 3. (alave, ) (Entered: 12/05/2022)
   12/05/2022   276   MOTION for Reconsideration re 275 Order on Motion to Withdraw as Attorney,, or,
                      in the alternative, motion for expedited appointment and extension of deadlines by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew. (Fields, Bryan) (Entered:
                      12/05/2022)
   12/05/2022   277   ORDER REFERRING MOTION as to Michael Aaron Tew, Kimberley Ann Tew 276
                      MOTION for Reconsideration re 275 Order on Motion to Withdraw as Attorney,, or,
                      in the alternative, motion for expedited appointment and extension of deadlines filed
                      by USA. Motion referred to Magistrate Judge Kristen L. Mix by Judge Daniel D.
                      Domenico on 12/05/2022. Text Only Entry (dddlc5, ) (Entered: 12/05/2022)
   12/06/2022   278   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/06/2022. IT IS
                      HEREBY ORDERED that a hearing on the Motion 276 is set for December 9, 2022,
                      at 11:00 a.m. Counsel for the parties, including defense counsel Peter Bornstein who
                      was permitted to withdraw by Minute Order 275 of December 2, 2022, shall be
                      present at the hearing. IT IS FURTHER ORDERED that the Clerk of Court shall
                      email a copy of this Minute Order to Mr. Bornstein. (alave, ) (Entered: 12/06/2022)
   12/06/2022   279   Certificate of Service by E−Mail by Clerk of Court re 278 Minute Order to counsel
                      Peter Bornstein at pbornstein@prblegal.com. Text Only Entry. (alave, ) (Entered:
                      12/06/2022)
   12/09/2022   280   MINUTE ENTRY for In Court Hearing as to Michael Aaron Tew, Kimberley Ann
                      Tew held on 12/9/2022 before Magistrate Judge Kristen L. Mix. The court GRANTS
                      276 Motion for Reconsideration re 273 MOTION to Withdraw as Attorney. 273
                      MOTION to Withdraw as Attorney is GRANTED in part and DENIED in part to the
                      extent that Mr. Bornstein is permitted to withdraw as private counsel, but otherwise
                      denied. Defendants are ORDERED to submit financial affidavits on or before 5:00
                      PM Tuesday, December 13, 2022. Should Defendants qualify for court−appointed
                      counsel, Mr. Bornstein will be appointed as CJA counsel.

                      The Clerk of Court is ORDERED to allow Mr. Bornstein to file the financial
                      affidavits on the electronic docket on the Defendants' behalf. Should there be any
                      problem with the filing of the financial affidavits, Mr. Bornstein SHALL email them
                      to Mix_Chambers@cod.uscourts.gov.(Total time: 23 minutes, Hearing time:
                      11:00−11:23)

                      APPEARANCES: Bryan Fields, Albert Buchman on behalf of the Government,
                      Peter Bornstein on behalf of the defendant. FTR: A−401. (cpomm, ) Text Only Entry
                      (Entered: 12/09/2022)
   12/13/2022   281   MOTION for Leave to Restrict by Michael Aaron Tew, Kimberley Ann Tew.
                      (Bornstein, Peter) (Entered: 12/13/2022)
   12/13/2022   282   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew, Kimberley Ann
                      Tew. (Bornstein, Peter) (Entered: 12/13/2022)


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   12/14/2022   283   ORDER granting 281 Motion for Leave to Restrict 282 Restricted Document as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2). The Clerk of Court is instructed to
                      maintain 282 at LEVEL THREE RESTRICTION. SO ORDERED by Judge Daniel
                      D. Domenico on 12/14/2022. Text Only Entry (dddlc5, ) (Entered: 12/14/2022)
   12/27/2022   284   MOTION to Vacate Deadlines and for Status Conference by USA as to Michael
                      Aaron Tew, Kimberley Ann Tew. (Fields, Bryan) (Entered: 12/27/2022)
   12/27/2022   285   TRANSCRIPT of MOTIONS HEARING as to Michael Aaron Tew, Kimberley Ann
                      Tew held on 10/12/22 before Judge Domenico. Pages: 1−234.

                       NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through the
                      Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                      PACER. (Thomas, Julie) (Entered: 12/27/2022)
   12/27/2022   286   MINUTE ORDER by Magistrate Judge Kristen L. Mix on 12/27/2022. IT IS
                      HEREBY ORDERED that attorney Peter Bornstein is appointed as CJA counsel for
                      Defendants Michael A. Tew and Kimberly A. Tew. (alave, ) (Entered: 12/27/2022)
   12/28/2022   287   ORDER DENYING 284 Government's Motion to Vacate Current Deadlines and for
                      Status Conference as to Michael Aaron Tew (1), Kimberley Ann Tew (2).

                      Attorney Peter Bornstein represented the defendants as retained counsel for a period
                      of over nine months from February to December 2022 (see Docs. 178 , 273 , 275 ,
                      280), and he now continues to represent the defendants as appointed CJA counsel
                      (Doc. 286 ). The Government has repeatedly stated its concern that further delays
                      may prejudice its case and the public (Doc. 284 at 3; Doc. 276 at 2, 3, 5, 8), and has
                      also acknowledged that Mr. Bornstein "is surely in the best position to advance this
                      case without any more delay" (Doc. 276 at 2). Having now been appointed as CJA
                      counsel, Mr. Bornstein has over a week to review the Government's James
                      submission prior to its filing on 1/6/2023.

                      The Government's request to vacate the deadlines related to its James proffer and log
                      is therefore denied.

                      SO ORDERED by Judge Daniel D. Domenico on 12/28/2022. Text Only Entry
                      (dddlc1, ) (Entered: 12/28/2022)
   12/28/2022   288   MOTION for Order Appointing Separate Counsel by Michael Aaron Tew, Kimberley
                      Ann Tew. (Bornstein, Peter) (Entered: 12/28/2022)
   12/29/2022   289   ORDER GRANTING 288 Motion for Appointment of Separate Counsel as to
                      Michael Aaron Tew (1), Kimberley Ann Tew (2).

                      Attorney Peter R. Bornstein is relieved of any further representation of Defendant
                      Kimberley Ann Tew, and the Clerk of Court is instructed to terminate Mr. Bornstein

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                      as counsel of record for Ms. Tew. An attorney from the Criminal Justice Act panel
                      will be appointed to represent Ms. Tew. Defendant Michael Aaron Tew will continue
                      to be represented by Mr. Bornstein as appointed CJA counsel.

                      In light of the above, the deadlines for the Goverment's James proffer and log and the
                      defendants' response thereto, and the James Hearing set for 1/26/2023 are
                      CONTINUED pending further order of the Court.

                      Within one week of entry of appearance of new counsel for Ms. Tew, the parties
                      must file a Joint Status Report addressing: (1) the Speedy Trial Act implications of
                      the new representation, if any; (2) mutually agreeable proposed deadlines for further
                      James proceedings; and (3) any other issues the parties wish to bring to the Court's
                      attention.

                      SO ORDERED by Judge Daniel D. Domenico on 12/29/2022. Text Only Entry
                      (dddlc1, ) (Entered: 12/29/2022)
   01/05/2023   291   MOTION to Unrestrict Document 2 Warrant Issued, 1 Complaint, by USA as to
                      Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1
                      Proposed Order (PDF Only))(Fields, Bryan) (Entered: 01/05/2023)
   01/06/2023   292   ORDER granting 291 Motion to Unrestrict 291 . The Clerk of Court is directed to
                      unrestrict Documents 1 , 2 , 5 , and 6 as to Michael Aaron Tew (1), Kimberley Ann
                      Tew (2), Jonathan K. Yioulos (3). SO ORDERED by Judge Daniel D. Domenico on
                      01/06/2023. Text Only Entry (dddlc5, ) (Entered: 01/06/2023)
   01/10/2023   293   STATUS REPORT (Joint Status Report of Parties) by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew (Fields, Bryan) (Entered: 01/10/2023)
   01/11/2023   294   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 293 Status
                      Report filed by USA. By 1/17/2023, Mr. Bornstein and Mr. Kaplan must each submit
                      an ex parte filing describing their positions regarding any conflict of interest that
                      might prevent Mr. Bornstein from continuing to represent Mr. Tew and whether a
                      hearing is necessary to evaluate and resolve this issue. SO ORDERED by Judge
                      Daniel D. Domenico on 01/11/2023. Text Only Entry (dddlc5, ) (Entered:
                      01/11/2023)
   01/13/2023   295   NOTICE OF ATTORNEY APPEARANCE: Nancy Lin Cohen appearing for
                      Movants Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo
                      Holdings, Inc.Attorney Nancy Lin Cohen added to party Christopher J. Alf(pty:mov),
                      Attorney Nancy Lin Cohen added to party National Air Cargo Group, Inc. (pty:mov),
                      Attorney Nancy Lin Cohen added to party National Air Cargo Holdings,
                      Inc.(pty:mov) (athom, ) (Entered: 01/13/2023)
   01/13/2023   296   NOTICE OF ATTORNEY APPEARANCE: Eric S. Galler appearing for Movants
                      Christopher J. Alf, National Air Cargo Group, Inc., National Air Cargo Holdings,
                      Inc.Attorney Eric S. Galler added to party Christopher J. Alf(pty:mov), Attorney Eric
                      S. Galler added to party National Air Cargo Group, Inc. (pty:mov), Attorney Eric S.
                      Galler added to party National Air Cargo Holdings, Inc.(pty:mov) (athom, ) (Entered:
                      01/13/2023)
   01/13/2023   297   MOTION to Quash Subpoenas by Christopher J. Alf, National Air Cargo Group,
                      Inc., National Air Cargo Holdings, Inc. as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (athom, ) (Entered: 01/13/2023)


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   01/17/2023   298   NOTICE OF ATTORNEY APPEARANCE: Peter R. Bornstein appearing for
                      Michael Aaron Tew (Bornstein, Peter) (Entered: 01/17/2023)
   01/17/2023   299   MOTION for Leave to Restrict by Michael Aaron Tew. (Bornstein, Peter) (Entered:
                      01/17/2023)
   01/17/2023   300   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Bornstein, Peter)
                      (Entered: 01/17/2023)
   01/26/2023   302   ORDER granting 299 Motion for Leave to Restrict as to Michael Aaron Tew (1). The
                      Clerk of Court is directed to maintain 300 at a LEVEL THREE RESTRICTION. SO
                      ORDERED by Judge Daniel D. Domenico on 1/26/2023. Text Only Entry (dddlc5, )
                      (Entered: 01/26/2023)
   01/29/2023   303   Unopposed MOTION to Modify Conditions of Release by Jonathan K. Yioulos as to
                      Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Tallon, Michael)
                      (Entered: 01/29/2023)
   01/30/2023   305   ORDER WITHDRAWING COUNSEL as to Michael Aaron Tew. Peter R. Bornstein
                      is WITHDRAWN as counsel to Defendant Michael Aaron Tew and relieved of all
                      further representation. The Clerk of Court is instructed to terminate Mr. Bornstein as
                      counsel of record, and to remove his name from the electronic certificate of mailing.
                      An attorney from the Criminal Justice Act panel will be appointed to represent
                      Defendant Michael Tew. Within one week of entry of appearance of new counsel for
                      Mr. Tew, the parties must file a Joint Status Report addressing: (1) the Speedy Trial
                      Act implications of the new representation, if any; and (2) any other issues the parties
                      wish to bring to the Court's attention. On or before 3/13/2023, the parties must file a
                      Joint Status Report with mutually agreeable proposed deadlines for further James
                      proceedings. By Judge Daniel D. Domenico on 01/30/2023. (athom, ) (Entered:
                      01/30/2023)
   01/30/2023   306   ORDER as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos.The
                      Motion of Third−Party Victims to Quash Subpoenas (Doc. 297 ) is GRANTED.The
                      defendants' third−party subpoenas dated 12/1/2022 are QUASHED. The defendants
                      may, if they wish, file a renewed motion for leave to serve third−party subpoenas that
                      fully complies with Federal Rule of Criminal Procedure 17. By Judge Daniel D.
                      Domenico on 01/30/2023. (athom, ) (Entered: 01/30/2023)
   01/31/2023   308   NOTICE OF ATTORNEY APPEARANCE: Jason Dale Schall appearing for
                      Michael Aaron TewAttorney Jason Dale Schall added to party Michael Aaron
                      Tew(pty:dft) (Schall, Jason) (Entered: 01/31/2023)
   02/03/2023   309   Unopposed MOTION to Continue Trial by Michael Aaron Tew. (Schall, Jason)
                      (Entered: 02/03/2023)
   02/03/2023   310   ORDER re 309 Motion to Continue as to Michael Aaron Tew. The Court currently
                      does not have enough information to determine whether the ends−of−justice served
                      by the length of delay requested by the Defendant outweighs the best interests of the
                      defendant and public in a speedy trial. In light of the appointment of Mr. Tew's new
                      counsel and the suspension of the present time from the Speedy Trial Act given the
                      James proceeding is not yet under advisement, the eight−day jury trial set for 3/13/23
                      and Trial Preparation Conference set for 3/7/2023 are VACATED. The Motion to
                      Continue 309 is denied without prejudice. If Defendant wishes to file a renewed
                      Motion to Continue, he should do so concurrent with the status report due 3/13/2023.
                      SO ORDERED by Judge Daniel D. Domenico on 02/03/2023. Text Only Entry


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                      (dddlc5, ) (Entered: 02/03/2023)
   02/07/2023   311   STATUS REPORT (Joint Status Report of Parties) by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew (Fields, Bryan) (Entered: 02/07/2023)
   02/17/2023   312   Unopposed MOTION to Modify Conditions of Release by Michael Aaron Tew.
                      (Schall, Jason) (Entered: 02/17/2023)
   02/17/2023   313   ORDER granting 312 Motion to Modify Conditions of Release as to Michael Aaron
                      Tew (1). Condition 7(x)(w) is stricken from Defendant's Conditions of Release.
                      Defendant's supervising officer shall notify the Court if any issues arise from the
                      removal of this restriction. SO ORDERED by Judge Daniel D. Domenico on
                      2/17/2023. Text Only Entry (dddlc5, ) (Entered: 02/17/2023)
   03/13/2023   314   STATUS REPORT re James Hearing (Joint Status Report of all Parties) by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K. Yioulos (Fields, Bryan)
                      (Entered: 03/13/2023)
   03/13/2023   316   Unopposed MOTION to Continue Trial by Michael Aaron Tew. (Schall, Jason)
                      (Entered: 03/13/2023)
   03/17/2023   318   ORDER as to Michael Aaron Tew. Defendant's Motion to Continue Trial and for an
                      Ends of Justice Continuance (Doc. 316 ) is GRANTED. Three hundred and
                      twenty−nine (329) days, from 3/17/2023 to 2/9/2024, will be excluded from the
                      computation of Defendant Michael Tew's Speedy Trial Act time. Motions due by
                      9/13/2023. Responses due by 9/20/2023. The eight−day Jury Trial is RESET to
                      2/5/2024 at 9:00 a.m. in Courtroom A1002 before Judge Daniel D. Domenico. The
                      Trial Preparation Conference is RESET to 1/30/2024 at 1:30 p.m. in Courtroom
                      A1002 before Judge Daniel D. Domenico. By Judge Daniel D. Domenico on
                      03/17/2023. (athom, ) (Entered: 03/17/2023)
   05/01/2023   327   Unopposed MOTION to Modify Conditions of Release by Michael Aaron Tew.
                      (Schall, Jason) (Entered: 05/01/2023)
   05/01/2023   328   ORDER granting 327 Motion to Modify Conditions of Release as to Michael Aaron
                      Tew (1). Condition 7(q) of Mr. Tew's pre−trial release is removed. In lieu of 7(q) Mr.
                      Tew must report to U.S. Pre−trial Services/U.S. Probation by no later than 12:00 p.m.
                      MST every Monday. SO ORDERED by Judge Daniel D. Domenico on 5/1/2023.
                      Text Only Entry (dddlc5, ) (Entered: 05/01/2023)
   06/07/2023   329   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      06/07/2023)
   06/07/2023   330   ORDER granting 329 Motion to Travel as to Michael Aaron Tew (1). Mr. Tew may
                      travel between on or around June 17, 2023 and June 22, 2023 to the States of
                      Wisconsin and Michigan. He must (1) provide documentation regarding his travel
                      plans to United States Pretrial and Probation Services in advance of departure, (2)
                      contact his probation officer as directed during approved travel, and (3) promptly
                      contact his probation officer upon return from travel as directed. SO ORDERED by
                      Judge Daniel D. Domenico on 6/7/2023. Text Only Entry (dddlc5, ) (Entered:
                      06/07/2023)
   09/12/2023   337   Unopposed MOTION for Extension of Time to File by Michael Aaron Tew. (Schall,
                      Jason) (Entered: 09/12/2023)
   09/13/2023   338


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                      ORDER GRANTING 337 Motion for Extension of Time to File as to Michael Aaron
                      Tew; and

                      GRANTING 336 Motion for Extension of Time to File as to Kimberley Ann Tew.

                      The motions deadline as to Mr. Tew and Ms. Tew is extended to October 13, 2023.
                      The government must file responses on or before October 20, 2023. SO ORDERED
                      by Judge Daniel D. Domenico on 9/13/2023. Text Only Entry (dddlc3, ) (Entered:
                      09/13/2023)
   10/13/2023   339   STATUS REPORT (Joint Status Report) by USA as to Michael Aaron Tew,
                      Kimberley Ann Tew (Fields, Bryan) (Entered: 10/13/2023)
   10/26/2023   340   ORDER SETTING JAMES HEARING as to Michael Aaron Tew, Kimberley Ann
                      Tew.

                      The Government must file any statements it will seek to admit at trial under Federal
                      Rule of Evidence 801(d)(2)(E) in the form of a James log, along with an
                      accompanying brief, on or before December 5, 2023.

                      The defendants must file their responses to the Government's James log and brief on
                      or before December 12, 2023. A James Hearing is SET for December 19, 2023 at
                      9:30 a.m. in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by
                      Judge Daniel D. Domenico on 10/26/2023. Text Only Entry (dddlc3, ) (Entered:
                      10/26/2023)
   12/05/2023   341   Government's Proffer (Memorandum in Support of James Log) re: 340 Order,, by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Exhibit 1 −
                      James Log, # 2 Exhibit 1001 − Bank Accounts, # 3 Exhibit 1002 − Scheme Invoice
                      Summary, # 4 Exhibit 1003 − Scheme Deposit Summary, # 5 Exhibit 1004 −
                      HSCPA, MCG & 5530JD Summary, # 6 Exhibit 1005 − PM Summary, # 7 Exhibit
                      1006 − GFL Summary, # 8 Exhibit 1007 − AMR Summary)(Fields, Bryan) (Entered:
                      12/05/2023)
   12/12/2023   342   MOTION to Withdraw as Attorney by Albert Buchman by USA as to Michael Aaron
                      Tew, Kimberley Ann Tew, Jonathan K. Yioulos. (Buchman, Albert) (Entered:
                      12/12/2023)
   12/12/2023   343   ORDER GRANTING 342 Motion to Withdraw as Attorney. The Clerk of Court is
                      instructed to terminate attorney Albert Buchman as counsel of record, and to remove
                      this name from the electronic certificate of mailing. The government will continue to
                      be represented by attorney Bryan Fields. SO ORDERED by Judge Daniel D.
                      Domenico on 12/12/2023. Text Only Entry (dddlc3, ) (Entered: 12/12/2023)
   12/12/2023   344   MOTION in Limine Regarding Exhibits Submitted as Part of James Proffer by USA
                      as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Exhibit List of
                      Authentic Business Records)(Fields, Bryan) (Entered: 12/12/2023)
   12/12/2023   345   RESPONSE by Michael Aaron Tew re: 341 Govt's Proffer, filed by USA (Schall,
                      Jason) (Entered: 12/12/2023)
   12/18/2023   348   MOTION in Limine regarding post−trial release by Michael Aaron Tew. (Schall,
                      Jason) (Entered: 12/18/2023)
   12/18/2023   350


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                      EXHIBIT LIST JAMES HEARING by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered: 12/18/2023)
   12/18/2023   351   WITNESS LIST JAMES HEARING by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew, Jonathan K. Yioulos (Fields, Bryan) (Entered: 12/18/2023)
   12/19/2023   352   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      12/19/2023)
   12/19/2023   353   NOTICE OF ATTORNEY APPEARANCE Sarah Hunter Weiss appearing for USA.
                      Attorney Sarah Hunter Weiss added to party USA(pty:pla) (Weiss, Sarah) (Entered:
                      12/19/2023)
   12/19/2023   355   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: James
                      Hearing as to Michael Aaron Tew (1), Kimberley Ann Tew (2) held on 12/19/2023 re
                      344 MOTION in Limine Regarding Exhibits Submitted as Part of James Proffer filed
                      by USA, 348 MOTION in Limine regarding post−trial release filed by Michael
                      Aaron Tew. Deferring ruling on 344 Motion in Limine as to Michael Aaron Tew (1),
                      Kimberley Ann Tew (2). Deferring ruling on 348 Motion in Limine as to Michael
                      Aaron Tew (1). James Proffer is TAKEN UNDER ADVISEMENT. Defendants shall
                      file responses to 344 Governments Motion in Limine for Ruling that Certain Exhibits
                      are Authentic and Covered by Business−Records Exception to the Hearsay Rule not
                      later than Friday, December 22, 2023. Bond is CONTINUED as to Defendants
                      Michael Aaron Tew and Kimberley Ann Tew. Court Reporter: Tammy Hoffschildt.
                      (rkeec) (Entered: 12/20/2023)
   12/19/2023   356   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew for James
                      Hearing held on 12/19/2023 with Clerk's notations as to date and time testified.
                      (rkeec) (Entered: 12/20/2023)
   12/19/2023   357   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew for
                      12/19/2023 James Hearing with Clerk's notations as to exhibits identified by the
                      witness. (rkeec) (Entered: 12/20/2023)
   12/20/2023   358   ORDER GRANTING 352 Motion to Travel as to Michael Aaron Tew. Michael and
                      Kimberley Tew may travel out of state from on or about December 22 through
                      January 3 as requested so long as Mr. Tew provides completed travel itineraries to
                      the Probation Department once those travel plans are finalized. SO ORDERED by
                      Judge Daniel D. Domenico on 12/20/2023. Text Only Entry (dddlc3, ) (Entered:
                      12/20/2023)
   12/22/2023   359   RESPONSE in Opposition by Michael Aaron Tew re 344 MOTION in Limine
                      Regarding Exhibits Submitted as Part of James Proffer (Schall, Jason) (Entered:
                      12/22/2023)
   12/29/2023   361   ORDER REGARDING ADMISSIBILITY OF RULE 801(d)(2)(E) STATEMENTS
                      as to Michael Aaron Tew (1), Kimberley Ann Tew (2). SO ORDERED by Judge
                      Daniel D. Domenico on 12/29/23. (rkeec) (Entered: 12/29/2023)
   01/08/2024   362   NOTICE OF ATTORNEY APPEARANCE: Lisa Marie Saccomano appearing for
                      Movant Atlantic Union Bank. (cmadr, ) (Entered: 01/09/2024)
   01/09/2024   363   MOTION to Quash Subpoena by Atlantic Union Bank as to Michael Aaron Tew,
                      Kimberley Ann Tew, Jonathan K. Yioulos. (Attachments: # 1 Exhibit 1, # 2 Exhibit
                      2, # 3 Exhibit 3)(Saccomano, Lisa) (Entered: 01/09/2024)


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   01/17/2024   364   RESTRICTED DOCUMENT − Level 3: by Michael Aaron Tew. (Schall, Jason)
                      (Entered: 01/17/2024)
   01/18/2024   365   ORDER as to Michael Aaron Tew. An attorney selected from the District's Criminal
                      Justice Act Panel is to be appointed as co−counsel for Michael Aaron Tew's trial
                      pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A et seq. SO ORDERED by
                      Judge Daniel D. Domenico on 1/18/2024. Text Only Entry (dddlc3, ) (Entered:
                      01/18/2024)
   01/18/2024   366   RESPONSE to Motion by USA as to Michael Aaron Tew, Kimberley Ann Tew re
                      363 MOTION to Quash Subpoena (Weiss, Sarah) (Entered: 01/18/2024)
   01/19/2024   367   ORDER granting in part and denying in part as outlined in the order 344 Motion in
                      Limine as to Michael Aaron Tew (1), Kimberley Ann Tew (2). Denying as moot 363
                      Motion to Quash as to Michael Aaron Tew (1), Kimberley Ann Tew (2). SO
                      ORDERED by Judge Daniel D. Domenico on 1/19/2024. (rkeec) (Entered:
                      01/19/2024)
   01/19/2024   368   NOTICE OF ATTORNEY APPEARANCE: Kristen M. Frost appearing for Michael
                      Aaron TewAttorney Kristen M. Frost added to party Michael Aaron Tew(pty:dft)
                      (Frost, Kristen) (Entered: 01/19/2024)
   01/22/2024   369   Unopposed MOTION for Order to Produce Trial Exhibits via Electronic Means by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1 Proposed
                      Order (PDF Only))(Fields, Bryan) (Entered: 01/22/2024)
   01/23/2024   370   MOTION in Limine regarding proffer agreements by Michael Aaron Tew.
                      (Attachments: # 1 Exhibit Defendant's Exhibits A and B)(Schall, Jason) (Entered:
                      01/23/2024)
   01/24/2024   371   CLERK'S NOTE: ORIGINAL GOVERNMENT EXHIBITS for the 355 MINUTE
                      ENTRY for James Hearing as to Michael Aaron Tew, Kimberley Ann Tew were
                      returned to the Government on January 24, 2024. Text only entry. (rkeec) (Entered:
                      01/24/2024)
   01/24/2024   372   ORDER as to Michael Aaron Tew re 370 Motion in limine regarding proffer
                      statements. The government must file a response to Mr. Tew's motion at or before
                      5:00 pm on Friday, January 26, 2024. SO ORDERED by Judge Daniel D. Domenico
                      on 1/24/2024. Text Only Entry (dddlc3, ) (Entered: 01/24/2024)
   01/24/2024   375   Proposed Verdict Form as to Michael Aaron Tew, Kimberley Ann Tew
                      (Attachments: # 1 Proposed Document Parties' Proposed Verdict Form)(Weiss,
                      Sarah) (Entered: 01/24/2024)
   01/24/2024   377   TRIAL BRIEF by Michael Aaron Tew (Schall, Jason) (Entered: 01/24/2024)
   01/24/2024   378   NOTICE of Certifications of Authentic, Non−Hearsay Business Records by USA as
                      to Michael Aaron Tew, Kimberley Ann Tew (Attachments: # 1 Exhibit, # 2
                      Exhibit)(Weiss, Sarah) (Entered: 01/24/2024)
   01/24/2024   379   TRIAL BRIEF by USA as to Michael Aaron Tew, Kimberley Ann Tew (Weiss,
                      Sarah) (Entered: 01/24/2024)
   01/25/2024   380   Proposed Jury Instructions (Joint) by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew (Weiss, Sarah) (Entered: 01/25/2024)
   01/25/2024   381

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                      ORDER re Kimberley Tew's 373 Motion in Limine and 374 Motion to Continue
                      Trial. The government must provide responses to these two motions at or before
                      11:59 pm on Friday, January 26, 2024. The government's response deadline for Mr.
                      Tew's 370 Motion in Limine is also extended to 11:59 pm on Friday, January 26,
                      2024. SO ORDERED by Judge Daniel D. Domenico on 1/25/2024. Text Only Entry
                      (dddlc3, ) (Entered: 01/25/2024)
   01/25/2024   382   ORDER GRANTING 369 Unopposed Motion to Produce Trial Exhibits Via
                      Electronic Means. The government must provide one original paper set of its
                      proposed exhibits for use at the upcoming trial. The government must provide
                      electronic copies of those exhibits to defense counsel on or before January 26, 2024.

                      The government must also provide three electronic copies (e.g., via three thumb
                      drives) of its proposed exhibits to the court on or before January 26, 2024. SO
                      ORDERED by Judge Daniel D. Domenico on 1/25/2024. Text Only Entry (dddlc3, )
                      (Entered: 01/25/2024)
   01/25/2024   383   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan K.
                      Yioulos (Attachments: # 1 Exhibit List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   384   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew, Jonathan
                      K. Yioulos (Attachments: # 1 Witness List)(Fields, Bryan) (Entered: 01/25/2024)
   01/25/2024   385   NOTICE regarding proposed witness and exhibit lists by Michael Aaron Tew
                      (Schall, Jason) (Entered: 01/25/2024)
   01/25/2024   386   EXHIBIT LIST (Amended) by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      (Attachments: # 1 Amended Exhibit List)(Fields, Bryan) (Entered: 01/25/2024)
   01/26/2024   390   Proposed Voir Dire by USA as to Michael Aaron Tew, Kimberley Ann Tew (Weiss,
                      Sarah) (Entered: 01/26/2024)
   01/26/2024   392   Proposed Voir Dire by Michael Aaron Tew (Schall, Jason) (Entered: 01/26/2024)
   01/26/2024   393   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 373 MOTION in Limine re Admissibility of Proffer Statements and 370 Defendant
                      Michael Tew's Motion in Limine (Weiss, Sarah) (Entered: 01/26/2024)
   01/27/2024   394   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Weiss, Sarah) (Entered:
                      01/27/2024)
   01/27/2024   395   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Weiss, Sarah) (Entered: 01/27/2024)
   01/27/2024   396   MOTION for Leave to Restrict by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew. (Attachments: # 1 Proposed Order (PDF Only))(Weiss, Sarah) (Entered:
                      01/27/2024)
   01/29/2024   400   BAIL STATUS REPORT 10 as to Michael Aaron Tew. (lgiac) (Entered: 01/29/2024)
   01/30/2024   403   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Trial
                      Preparation Conference as to Michael Aaron Tew (1), Kimberley Ann Tew (2) held
                      on 1/30/2024. Taking under advisement 374 Defendant Kimberly Ann Tews Motion
                      to Continue Trial and Motion for Ends of Justice Continuance of 90 Days. Taking
                      under advisement 370 Motion in Limine as to Michael Aaron Tew (1). Taking under


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                      advisement 373 Motion in Limine as to Kimberley Ann Tew (2). Taking under
                      advisement 399 Motion to Exclude as to Kimberley Ann Tew (2); re 370 MOTION
                      in Limine regarding proffer agreements filed by Michael Aaron Tew, 373 MOTION
                      in Limine re Admissibility of Proffer Statements filed by Kimberley Ann Tew, 399
                      MOTION to Exclude Testimony Regarding the Reasons for Michael Tew's
                      Termination from NAC as Proposed in the Government's Trial Brief (ECF 379) filed
                      by Kimberley Ann Tew. Bond is CONTINUED as to Defendants Michael Aaron
                      Tew and Kimberly Ann Tew. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered:
                      01/31/2024)
   01/31/2024   402   ORDER Denying 374 Motion to Continue as to Kimberley Ann Tew (2) by Judge
                      Daniel D. Domenico on 31 January 2024. The trial will proceed on February 5, 2024,
                      as scheduled. (cmadr, ) Modified to correct entry on 1/31/2024 (cmadr, ). (Entered:
                      01/31/2024)
   02/01/2024   404   ORDER REGARDING MOTIONS IN LIMINE AND PRE−TRIAL ISSUES as to
                      Michael Aaron Tew (1) and Kimberley Ann Tew (2) by Judge Daniel D. Domenico
                      on 1 February 2024. Defendants' motions, Docs. 370 and 373 , are GRANTED IN
                      PART and DENIED IN PART as outlined herein. Ms. Tew's motion, Doc. 399 , is
                      therefore DENIED. (cmadr, ) (Entered: 02/01/2024)
   02/02/2024   405   Unopposed MOTION for Order To Obtain Testimony Via Live Contemporaneous
                      Video Conference by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Fields,
                      Bryan) (Entered: 02/02/2024)
   02/02/2024   406   Order GRANTING 405 Unopposed Motion to Obtain Testimony Via Live
                      Contemporaneous Video Conference. The government is cautioned, however, that it
                      bears the risk of any technology malfunctions, whether on the Court's end or the
                      witness's end. SO ORDERED by Judge Daniel D. Domenico on 2/2/2024. Text Only
                      Entry (dddlc3, ) (Entered: 02/02/2024)
   02/02/2024   407   WITNESS LIST (Final Witness List) by USA as to Michael Aaron Tew, Kimberley
                      Ann Tew (Attachments: # 1 Final Witness List)(Fields, Bryan) (Entered: 02/02/2024)
   02/02/2024   408   EXHIBIT LIST Final Exhibit List by USA as to Michael Aaron Tew, Kimberley Ann
                      Tew (Attachments: # 1 Exhibit)(Weiss, Sarah) (Entered: 02/02/2024)
   02/04/2024   410   MOTION for Reconsideration re 404 Order on Motion in Limine,, Order on Motion
                      to Exclude,,, by Michael Aaron Tew. (Schall, Jason) (Entered: 02/04/2024)
   02/04/2024   412   RESPONSE in Opposition by USA as to Michael Aaron Tew, Kimberley Ann Tew
                      re 409 MOTION for Order for Finding that Ms. Tew's Waiver of Right to Confront
                      and Cross−Examine Witnesses was Not Knowing or, in the Alternative, Request for
                      Hearing, 410 MOTION for Reconsideration re 404 Order on Motion in Limine,,
                      Order on Motion to Exclude,,, (Fields, Bryan) (Entered: 02/04/2024)
   02/05/2024   414   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 1) held on 2/5/2024 as to Michael Aaron Tew (1), Kimberley Ann Tew (2).
                      Denying 410 Motion for Reconsideration re 410 MOTION for Reconsideration re
                      404 Order on Motion in Limine,, Order on Motion to Exclude,,, filed by Michael
                      Aaron Tew, 409 MOTION for Order for Finding that Ms. Tew's Waiver of Right to
                      Confront and Cross−Examine Witnesses was Not Knowing or, in the Alternative,
                      Request for Hearing filed by Kimberley Ann Tew as to Michael Aaron Tew (1).
                      Denying 409 Motion for Order as to Kimberley Ann Tew (2). Bond continued as to
                      both defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/06/2024)


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   02/05/2024   415   Jury Strike Sheet − Unredacted − Restricted Doc. − Level 4 (rkeec) (Entered:
                      02/06/2024)
   02/05/2024   416   Jury Strike Sheet with juror names redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) (Entered: 02/06/2024)
   02/05/2024   417   Jury Random List − Unredacted − Restricted Doc. − Level 4 (rkeec) (Entered:
                      02/06/2024)
   02/06/2024   418   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 2) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/6/2024. Defendant
                      Kimberley Ann Tews oral motion for severance is TAKEN UNDER
                      ADVISEMENT. Bond is continued as to both defendants. Court Reporter: Tammy
                      Hoffschildt. (rkeec) (Entered: 02/07/2024)
   02/07/2024   419   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 3) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/7/2024. Bond is
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/08/2024)
   02/08/2024   420   Renewed MOTION to Sever Defendant by Michael Aaron Tew. (Attachments: # 1
                      Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Frost, Kristen) (Entered: 02/08/2024)
   02/08/2024   421   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 4) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/8/2024. Bond
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/09/2024)
   02/09/2024   423   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 5) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/9/2024. Defendant
                      Kimberley Ann Tews oral motion for mistrial is DENIED. Bond continued as to both
                      defendants. Court Reporter: Tammy Hoffschildt. (rkeec) (Entered: 02/12/2024)
   02/11/2024   422   RESPONSE in Opposition by USA as to Michael Aaron Tew re 420 Renewed
                      MOTION to Sever Defendant (Weiss, Sarah) (Entered: 02/11/2024)
   02/12/2024   424   ORDER DENYING 420 Michael Tew's Renewed Motion for Severance. By Judge
                      Daniel D. Domenico on 2/12/2024. (dddlc1, ) (Entered: 02/12/2024)
   02/12/2024   425   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 6) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/12/2024. 420
                      Defendant Michael Tews Renewed Motion for Severance is DENIED. Bond is
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/13/2024)
   02/13/2024   426   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew. The Clerk of
                      Court shall provide lunch to the jury for the duration of their deliberations
                      commencing on Wednesday, February 14, 2024. SO ORDERED by Judge Daniel D.
                      Domenico on 2/13/2024. (rkeec) (Entered: 02/13/2024)
   02/13/2024   427   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 7) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/13/2024. Bond
                      continued as to both defendants. Court Reporter: Tammy Hoffschildt. (rkeec)
                      (Entered: 02/14/2024)
   02/14/2024   428


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                      AMENDED MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew. The
                      Clerk of Court shall provide lunch to the jury, including the alternate juror, for the
                      duration of their deliberations commencing on Wednesday, February 14, 2024. SO
                      ORDERED by Judge Daniel D. Domenico on 2/14/2024. (rkeec) (Entered:
                      02/14/2024)
   02/14/2024   430   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 8) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/14/2024.
                      Defendant Kimberley Ann Tews oral motion for mistrial is DENIED. Defendant
                      Kimberley Ann Tews oral Rule 29 motion is DENIED. Defendant Kimberley Ann
                      Tews oral motion for severance is DENIED. Defendant Michael Aaron Tews oral
                      Rule 29 motion is DENIED. Defendant Michael Aaron Tews oral motion for
                      severance is DENIED. Bond continued as to both defendants. Court Reporter:
                      Tammy Hoffschildt. (rkeec) (Entered: 02/15/2024)
   02/14/2024   431   Jury Note with juror name − Unredacted − Restricted Doc. − Level 4 (rkeec)
                      (Entered: 02/15/2024)
   02/14/2024   432   Jury Note with juror name redacted as to Michael Aaron Tew, Kimberley Ann Tew.
                      (rkeec) (Entered: 02/15/2024)
   02/14/2024   433   WITNESS LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew with dates
                      and times testified. (rkeec) (Entered: 02/15/2024)
   02/14/2024   434   WITNESS LIST by Kimberley Ann Tew as to Michael Aaron Tew, Kimberley Ann
                      Tew. (rkeec) (Entered: 02/15/2024)
   02/14/2024   435   EXHIBIT LIST by USA as to Michael Aaron Tew, Kimberley Ann Tew indicating
                      admitted exhibits. (rkeec) (Entered: 02/15/2024)
   02/14/2024   436   EXHIBIT LIST by Michael Aaron Tew, Kimberley Ann Tew indicating admitted
                      exhibits. (rkeec) (Entered: 02/15/2024)
   02/15/2024   429   ORDER as to Michael Aaron Tew, Kimberley Ann Tew. SO ORDERED by Judge
                      Daniel D. Domenico on 2/15/2024. (rkeec) (Entered: 02/15/2024)
   02/15/2024   438   Final Jury Instructions as to Michael Aaron Tew, Kimberley Ann Tew as read into
                      the record on 2/14/2024. (rkeec) (Entered: 02/16/2024)
   02/15/2024   439   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico: Jury Trial
                      (Day 9) as to Michael Aaron Tew, Kimberley Ann Tew held on 2/15/2024. Jury
                      Verdict as to Michael Aaron Tew (1) Guilty on Count
                      1,1s,2,2s−40s,3,41s,42s,44s−56s,57s−60s and Kimberley Ann Tew (2) Guilty on
                      Count 1,21−22,25−26,31−32,41,43−44,47,56. Bond is continued as to both
                      defendants. Court Reporter: Tammy Hoffschildt. (rkeec) Modified on 2/16/2024 to
                      correct as to Count 48 (rkeec). (Entered: 02/16/2024)
   02/15/2024   440   Jury Note 1 (Question) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   441   Jury Note 2 (Question) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   442   Jury Note 3 (Verdict) − Unredacted − Restricted Doc. − Level 4. (rkeec) (Entered:
                      02/16/2024)
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                      Jury Note 1 (Question) with juror name redacted as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   444   Jury Note 2 (Question) with juror name redacted as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   445   Jury Note 3 (Verdict) with juror name redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) Modified on 2/16/2024 (rkeec, ). (Entered: 02/16/2024)
   02/15/2024   446   Court Response to Jury Notes 1 and 2 (Questions) as to Michael Aaron Tew,
                      Kimberley Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   447   Jury Verdict Un−Redacted − Level 4 − Viewable by Court Only. (rkeec) (Entered:
                      02/16/2024)
   02/15/2024   448   JURY VERDICT with juror name redacted as to Michael Aaron Tew, Kimberley
                      Ann Tew. (rkeec) (Entered: 02/16/2024)
   02/15/2024   449   STIPULATION AND ORDER REGARDING CUSTODY OF EXHIBITS AND
                      DEPOSITIONS as to Michael Aaron Tew, Kimberley Ann Tew. SO ORDERED by
                      Judge Daniel D. Domenico on 2/15/2024. (rkeec) (Entered: 02/16/2024)
   02/21/2024   450   MOTION to Detain Defendants Michael Tew & Kimberley Tew Pending Sentencing
                      by USA as to Michael Aaron Tew, Kimberley Ann Tew. (Attachments: # 1
                      Exhibit)(Weiss, Sarah) (Entered: 02/21/2024)
   02/21/2024   451   ORDER as to Michael Aaron Tew, Kimberley Ann Tew re 450 MOTION to Detain
                      Defendants Michael Tew & Kimberley Tew Pending Sentencing filed by USA.

                      Mr. Tew and Mrs. Tew must each file responses to the government's 450 Motion to
                      Detain on or before February 27, 2024. SO ORDERED by Judge Daniel D.
                      Domenico on 2/21/2024. Text Only Entry (dddlc3, ) (Entered: 02/21/2024)
   02/27/2024   453   RESPONSE in Opposition by Michael Aaron Tew re 450 MOTION to Detain
                      Defendants Michael Tew & Kimberley Tew Pending Sentencing (Schall, Jason)
                      (Entered: 02/27/2024)
   03/12/2024   455   ORDER re 450 Motion to Detain Defendants Michael and Kimberley Tew. The
                      government's motion questions whether Mr. and Mrs. Tew are still eligible for
                      CJA−appointed counsel for this case. There is sufficient evidence to call into
                      question their present eligibility under 18 U.S.C. § 3006A(c).

                      The issue of whether Michael Tew and Kimberley Tew remain entitled to ongoing
                      court−appointed counsel under Section 3006A(c) is therefore REFERRED to
                      Magistrate Judge Susan Prose. All other issues raised in the government's motion,
                      including the potential detention of Mr. and Mrs. Tew pending sentencing or the
                      potential un−sealing of any prior CJA affidavits, will be addressed at a detention
                      hearing before this Court as outlined below.

                      It is therefore ORDERED that a Hearing on the 450 Government's Motion is SET for
                      April 22, 2024 at 10:30 AM in Courtroom A1002 before Judge Daniel D. Domenico.
                      SO ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only Entry
                      (dddlc3, ) (Entered: 03/12/2024)
   03/12/2024   456   ORDER as to Michael Aaron Tew. A Sentencing Hearing as to Michael Tew is SET
                      for August 8, 2024 at 10:30 AM in Courtroom A1002 before Judge Daniel D.

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                      Domenico. SO ORDERED by Judge Daniel D. Domenico on 3/12/2024. Text Only
                      Entry (dddlc3, ) (Entered: 03/12/2024)
   03/14/2024   458   SENTENCING STATEMENT by USA as to Michael Aaron Tew (Attachments: # 1
                      Exhibit, # 2 Exhibit)(Fields, Bryan) (Entered: 03/14/2024)
   03/15/2024   460   ORDER SETTING STATUS CONFERENCE as to Michael Aaron Tew, Kimberley
                      Ann Tew by Magistrate Judge Susan Prose on 3/15/2024. A 30−minute in−person
                      Status Conference is hereby set for 3/18/2024, at 4:00 PM in Courtroom C205 before
                      Magistrate Judge Susan Prose. The parties shall be prepared to discuss Defendant
                      Michael Tew's request for "an ex parte hearing... to determine whether Mr. Tew 'is
                      financially able to obtain counsel or to make partial payment for the representation'
                      pursuant to 18 U.S.C. § 3006A(c)." See ECF No. 453 at 3. Text Only Entry. (trvo, )
                      (Entered: 03/15/2024)
   03/18/2024   461   MINUTE ORDER as to Michael Aaron Tew, Kimberley Ann Tew by Magistrate
                      Judge Susan Prose on 3/18/2024. At the request of the parties, the Status Conference
                      is RESET for 3/21/2024, at 04:00 PM in Courtroom C205 before Magistrate Judge
                      Susan Prose. Text Only Entry. (trvo, ) (Entered: 03/18/2024)
   03/21/2024   462   MINUTE ENTRY for Status Conference as to Michael Aaron Tew and Kimberley
                      Ann Tew held before Magistrate Judge Susan Prose on 3/21/2024. Discussion
                      regarding issue referred to this court (see ECF No. 455). An ex parte hearing to
                      determine Michael Tew's entitlement to ongoing court−appointed counsel under 18
                      U.S.C. § 3006A(c) is SET for March 28, 2024, at 1:30 p.m. in Courtroom C205
                      before Magistrate Judge Susan Prose. Any documents to be submitted in connection
                      with this hearing shall be sent directly to Chambers, as discussed on the record, on or
                      before 10:00 a.m. March 27, 2024. An ex parte hearing to determine Kimberley Ann
                      Tew's entitlement to ongoing court−appointed counsel under 18 U.S.C. § 3006A(c) is
                      SET for April 15, 2024, at 1:30 p.m. in Courtroom C205 before Magistrate Judge
                      Susan Prose. Any documents to be submitted in connection with this hearing shall be
                      sent directly to Chambers, as discussed on the record, on or before 12:00 p.m. April
                      10, 2024. Hearing concluded. FTR: C205. (Total time: 1 hour and 8 minutes, Hearing
                      time: 3:57 p.m. − 5:05 p.m.) Text Only Entry.

                      APPEARANCES: Bryan David Fields and Sarah Hunter Weiss on behalf of the
                      Government, Jason Dale Schall and Kristen M. Frost on behalf of Defendant Michael
                      Aaron Tew and David Scott Kaplan on behalf of Defendant Kimberly Ann Tew.
                      (trvo, ) (Entered: 03/22/2024)
   03/21/2024   463   Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Ex Parte In
                      Court Hearing set for 3/28/2024, at 01:30 PM in Courtroom C205 before Magistrate
                      Judge Susan Prose. Text Only Entry (trvo, ) (Entered: 03/22/2024)
   03/27/2024   465   STATEMENT by Government Regarding Michael Tew's Eligibility for CJA−Funded
                      Counsel Going Forward by Plaintiff USA (Weiss, Sarah) (Entered: 03/27/2024)
   03/27/2024   466   RESTRICTED DOCUMENT LEVEL 3 − Conventionally Submitted Material: 1
                      Flash Drive re 462 Status Conference, by Plaintiff USA. Location: 1st Floor Area,
                      Box D−5−9. Text Only Entry. (sphil, ) Modified on 4/15/2024 to add restriction
                      (trvo, ). (Entered: 03/27/2024)
   03/27/2024   467   RESTRICTED DOCUMENT LEVEL 3 − Conventionally Submitted Material: 1
                      USB Drive re 462 Status Conference, by Defendant Michael Aaron Tew. Location:
                      1st Floor Area, Box D−5−9. Text Only Entry. (trvo, ) Modified on 4/15/2024 to add

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                      restriction (trvo, ). (Entered: 03/28/2024)
   03/28/2024   468   MINUTE ENTRY for Ex Parte Hearing as to Michael Aaron Tew held before
                      Magistrate Judge Susan Prose on 3/28/2024. The Court finds that Defendant Michael
                      Tew remains eligible for court−appointed counsel. A separate public written order
                      will be issued. FTR: C205. (trvo, ) (Entered: 03/29/2024)
   04/01/2024   470   ORDER GRANTING 396 Motion for Leave to Restrict. The Clerk of Court is
                      directed to maintain Docs. 394 and 395 at Level 2 restriction. SO ORDERED by
                      Judge Daniel D. Domenico on 4/1/2024. Text Only Entry (dddlc1, ) (Entered:
                      04/01/2024)
   04/05/2024   471   ORDER REGARDING DEFENDANT MICHAEL TEW'S ELIGIBILITY FOR
                      ONGOING COURT−APPOINTED COUNSEL by Magistrate Judge Susan Prose on
                      4/5/2024. (trvo, ) (Entered: 04/05/2024)
   04/16/2024   476   ORDER granting 475 Motion for Order Requiring the Parties to File Visual
                      Presentations into the Record. The parties are ordered to file all visual presentations
                      used during opening statements and closing arguments into the record. SO
                      ORDERED by Judge Daniel D. Domenico on 4/16/2024. Text Only Entry (dddlc9, )
                      (Entered: 04/16/2024)
   04/18/2024   477   NOTICE OF CONVENTIONAL SUBMISSION re 476 Order on Motion for Order, by
                      USA as to Michael Aaron Tew, Kimberley Ann Tew (Fields, Bryan) (Entered:
                      04/18/2024)
   04/18/2024   479   Conventionally Submitted Material : USB exhibits to 477 NOTICE OF
                      CONVENTIONAL SUBMISSION re 476 Order on Motion for Order, by Plaintiff
                      USA − Material placed in the oversized area D−5−9 of the Clerk's Office. Text Only
                      Entry (angar, ) (Entered: 04/19/2024)
   04/22/2024   483   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Evidentiary Hearing as to Michael Aaron Tew, Kimberley Ann Tew held on
                      4/22/2024 re 450 MOTION to Detain Defendants Michael Tew & Kimberley Tew
                      Pending Sentencing filed by USA. 450 Motion to Detain as to Michael Aaron Tew
                      (1), Kimberley Ann Tew (2) is DENIED, but the Court will impose additional
                      conditions of bond. Court indicates that a written order shall follow. Bond is
                      continued as to Michael Aaron Tew and Kimberley Ann Tew. Court Reporter:
                      Tammy Hoffschildt. (Attachments: # 1 Government's witness list, # 2 Government's
                      exhibit list) (rkeec) (Entered: 04/22/2024)
   04/23/2024   486   NOTICE Of Clarification Regarding Sentencing Statement by Michael Aaron Tew
                      (Frost, Kristen) (Entered: 04/23/2024)
   04/24/2024   488   NOTICE Of Filing Of Visual Presentation by Michael Aaron Tew (Attachments: # 1
                      Closing Argument PowerPoint)(Frost, Kristen) (Entered: 04/24/2024)
   04/25/2024   489   ORDER modifying conditions of release as to Michael Aaron Tew and Kimberley
                      Ann Tew. The following conditions are added to those already in effect:

                      1. Defendants shall disclose a complete list of all bank accounts and peer−to−peer
                      financial services accounts to which they have access no later than April 30, 2024.
                      Defendants shall further provide a statement for each of these accounts to their
                      supervising officer no later than the 5th of each following month, starting on May
                      5th, 2024.


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                      2. Defendants shall refrain from gambling of any kind, purchasing over $50 of gift
                      cards in a given day, and engaging in any cryptocurrency transaction without the
                      prior approval of the supervising officer.

                      3.The supervising officer may, in his discretion, share any information provided to
                      him by Defendants pursuant to these conditions with the government.

                      SO ORDERED by Judge Daniel D. Domenico on 4/25/2024. Text Only Entry
                      (dddlc9, ) (Entered: 04/25/2024)
   04/25/2024   490   ORDER denying as moot 348 Motion in Limine in light of 483 and 489 . SO
                      ORDERED by Judge Daniel D. Domenico on 4/25/2024. Text Only Entry (dddlc9, )
                      (Entered: 04/25/2024)
   04/25/2024   491   ORDER granting 480 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Doc. 482 at Level 1 restriction. SO ORDERED by Judge Daniel D.
                      Domenico on 4/25/2024. Text Only Entry (dddlc9, ) (Entered: 04/25/2024)
   04/26/2024   499   ORDER Updating Conditions of Release as to Michael Aaron Tew (1) $20,000
                      Unsecured. SO ORDERED by Judge Daniel D. Domenico on 4/26/2024. (rkeec)
                      (Entered: 05/01/2024)
   05/08/2024   501   ORDER denying 482 RESTRICTED DOCUMENT − Level 1: by Kimberley Ann
                      Tew. Having reviewed the pleadings on this issue and considered the relevant facts,
                      the motion is denied. SO ORDERED by Judge Daniel D. Domenico on 5/8/2024.
                      Text Only Entry (dddlc9, ) (Entered: 05/08/2024)
   05/31/2024   502   Unopposed MOTION to Continue Sentencing and Related Deadlines by Michael
                      Aaron Tew. (Schall, Jason) (Entered: 05/31/2024)
   06/04/2024   503   ORDER granting 502 Motion to Continue as to Michael Aaron Tew. Mr. Tew's
                      sentencing, which was set for 8/8/2024, is vacated and reset for 9/12/2024 at 10:30
                      AM in Courtroom A1002 before Judge Daniel D. Domenico. SO ORDERED by
                      Judge Daniel D. Domenico on 6/4/2024. Text Only Entry (dddlc9, ) (Entered:
                      06/04/2024)
   07/25/2024   512   NOTICE OF ATTORNEY APPEARANCE Laura Beth Hurd appearing for USA.
                      Attorney Laura Beth Hurd added to party USA(pty:pla) (Hurd, Laura) (Entered:
                      07/25/2024)
   07/26/2024   516   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew, Kimberley Ann
                      Tew, Jonathan K. Yioulos. (Attachments: # 1 Conventionally Submitted, # 2 Exhibit,
                      # 3 Exhibit)(Weiss, Sarah) (Entered: 07/26/2024)
   08/01/2024   521   Unopposed MOTION for Order To Permit Virtual or Telephonic Attendance for
                      Co−Defendant's Sentencing Hearing by Michael Aaron Tew. (Frost, Kristen)
                      (Entered: 08/01/2024)
   08/05/2024   524   ORDER granting 521 Motion for Order as to Michael Aaron Tew to Permit Virtual
                      or Telephonic Attendance for Co−Defendant's Sentencing Hearing. Mr. Tew's
                      counsel is directed to contact the Courtroom Deputy via email
                      (robb_keech@cod.uscourts.gov) no later than 8/6/2024 for instructions on how to
                      proceed by telephone conference. All persons participating in court proceedings
                      remotely by VTC or teleconference are prohibited, under penalty of contempt, from


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                      recording or broadcasting the proceeding in any manner. SO ORDERED by Judge
                      Daniel D. Domenico on 8/5/2024. Text Only Entry (dddlc9, ) (Entered: 08/05/2024)
   08/08/2024   526   RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                      Michael Aaron Tew (Attachments: # 1 Exhibit A)(ntaka) (Entered: 08/08/2024)
   08/15/2024   531   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Schall, Jason)
                      (Entered: 08/15/2024)
   08/15/2024   532   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (cmadr, )
                      (Entered: 08/15/2024)
   08/19/2024   533   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (rkeec) (Entered:
                      08/19/2024)
   08/19/2024   534   Utility Setting/Resetting Deadlines/Hearings as to Michael Aaron Tew: Text Only
                      Entry. Sentencing reset for 11/12/2024, at 01:30 PM, in Courtroom A1002 before
                      Judge Daniel D. Domenico. (rkeec) (Entered: 08/19/2024)
   08/28/2024   542   MOTION for Leave to Restrict by Michael Aaron Tew. (Schall, Jason) (Entered:
                      08/28/2024)
   08/28/2024   543   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Schall, Jason)
                      (Entered: 08/28/2024)
   08/28/2024   544   ORDER granting 542 Motion for Leave to Restrict. The Clerk of Court is directed to
                      maintain Docs. 531 , 532 , 533 , and 543 at Level 2 restriction. SO ORDERED by
                      Judge Daniel D. Domenico on 8/28/2024. Text Only Entry (dddlc9, ) (Entered:
                      08/28/2024)
   10/15/2024   557   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      10/15/2024)
   10/15/2024   558   ORDER granting 557 Motion to Travel as to Michael Aaron Tew. Mr. Tew may
                      travel to Pheonix, Arizona during the following windows:

                      1. October 25 through October 28, 2024;
                      2. November 1 through November 4, 2024; amd
                      3. November 8 through November 11, 2024.

                      Mr. Tew must (1) provide documentation regarding his travel plans to United States
                      Pretrial and Probation Services as directed in advance of departure, (2) contact his
                      probation officer as directed during approved travel, and (3) promptly contact his
                      probation officer upon return from travel as directed. SO ORDERED by Judge
                      Daniel D. Domenico on 10/15/2024. Text Only Entry (dddlc9, ) (Entered:
                      10/15/2024)
   10/21/2024   571   OBJECTION/RESPONSE to Presentence Report 526 by Michael Aaron Tew (Schall,
                      Jason) (Entered: 10/21/2024)
   10/24/2024   572   MOTION for Forfeiture of Property for Preliminary Order of Forfeiture for a
                      Personal Money Judgment Against Defendant Michael Aaron Tew by USA as to
                      Michael Aaron Tew. (Attachments: # 1 Proposed Order (PDF Only))(Hurd, Laura)
                      (Entered: 10/24/2024)
   10/24/2024   573


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                      OBJECTION/RESPONSE to Presentence Report 571 by USA as to Michael Aaron
                      Tew (Fields, Bryan) (Entered: 10/24/2024)
   10/24/2024   574   ORDER as to Michael Aaron Tew re 572 Motion for Preliminary Order of Forfeiture.
                      If Mr. Tew opposes this motion, he is ordered to file a response on or before
                      November 1, 2024. SO ORDERED by Judge Daniel D. Domenico on 10/24/2024.
                      Text Only Entry (dddlc9, ) (Entered: 10/24/2024)
   10/29/2024   575   RESTRICTED DOCUMENT − Level 2: as to Michael Aaron Tew. (Attachments: #
                      1 Exhibit Defendant's Exhibits)(Schall, Jason) (Entered: 10/29/2024)
   11/05/2024   576   RESTRICTED PRESENTENCE REPORT as to Michael Aaron Tew (Attachments:
                      # 1 Exhibit A − Revised Recommendation).(agalv) (Entered: 11/05/2024)
   11/05/2024   577   RESTRICTED ADDENDUM to Presentence Report 576 as to Michael Aaron Tew
                      (Attachments: # 1 Exhibit A − Letters in Support). (agalv) (Entered: 11/05/2024)
   11/05/2024   579   MEMORANDUM in Opposition by USA as to Michael Aaron Tew re 575 Restricted
                      Document − Level 2 (Response in Opposition to Motion for Variant Sentence)
                      (Fields, Bryan) (Entered: 11/05/2024)
   11/10/2024   582   ORDER re Sentencing as to Michael Aaron Tew. Live witnesses will not be
                      permitted to testify at Tuesday's sentencing, though the defendant may speak on his
                      own behalf or may submit other support in writing if he wishes. Any victims will also
                      be given an opportunity to speak. SO ORDERED by Judge Daniel D. Domenico on
                      11/10/2024. Text Only Entry (dddlc9, ) (Entered: 11/10/2024)
   11/11/2024   583   PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                      JUDGMENT as to Michael Aaron Tew (1) by Judge Daniel D. Domenico on 11
                      November 2024. (cmadr, ) (Entered: 11/12/2024)
   11/12/2024   584   MOTION for Victim Rights (Permission for Telephonic Participation) by USA as to
                      Michael Aaron Tew. (Fields, Bryan) (Entered: 11/12/2024)
   11/12/2024   585   ORDER granting 584 Motion for Victim Rights as to Michael Aaron Tew. While it is
                      unclear whether Fed. R. Crim. P. 32 requires the Court to permit victims not
                      physically present in the courtroom an opportunity to speak at sentencing, the Court
                      will allow any victims in this case an opportunity to speak telephonically at today's
                      sentencing. SO ORDERED by Judge Daniel D. Domenico on 11/12/2024. Text Only
                      Entry (dddlc9, ) (Entered: 11/12/2024)
   11/12/2024   586   MINUTE ENTRY for proceedings held before Judge Daniel D. Domenico:
                      Sentencing held on 11/12/2024 as to defendant Michael Aaron Tew (1). Defendant
                      sentenced as reflected on the record. 575 Defendants Motion is GRANTED IN
                      PART. Bond continued. Court Reporter: Tammy Hoffschildt. (Attachments: # 1
                      Defendant Exhibit 1, # 2 Defendant Exhibit 2) (rkeec) (Entered: 11/12/2024)
   11/14/2024   587   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      11/14/2024)
   11/15/2024   588   ORDER granting 587 Motion to Travel as to Michael Aaron Tew. Mr. Tew may
                      travel to Pheonix, Arizona to visit his wife at FCI Pheonix between now and his
                      self−report date so long as he provides completed travel itineraries (including both
                      flight and lodging information) to probation at least two weeks prior to travel and
                      receives approval from U.S.P.O. Seth Junker. SO ORDERED by Judge Daniel D.
                      Domenico on 11/15/2024. Text Only Entry (dddlc9, ) (Entered: 11/15/2024)


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   11/15/2024   589   JUDGMENT as to defendant Michael Aaron Tew (1), Count(s) 1s, Defendant shall
                      be imprisoned for a total term of forty−two (42) months. This term consists of
                      forty−two (42) months on each of Counts 1 through 42 and 44 through 56; and
                      twelve (12) months on each of counts 57 through 60; all counts imposed
                      concurrently. Three (3) years supervised release on each count, to run concurrently.,
                      $5,600.00 special assessment, no fine, and restitution in the total amount of
                      $6,361,622.10.; Count(s) 2s−40s, Defendant shall be imprisoned for a total term of
                      forty−two (42) months. This term consists of forty−two (42) months on each of
                      Counts 1 through 42 and 44 through 56; and twelve (12) months on each of counts 57
                      through 60; all counts imposed concurrently. Three (3) years supervised release on
                      each count, to run concurrently., $5,600.00 special assessment, no fine, and
                      restitution in the total amount of $6,361,622.10.; Count(s) 41s, Defendant shall be
                      imprisoned for a total term of forty−two (42) months. This term consists of forty−two
                      (42) months on each of Counts 1 through 42 and 44 through 56; and twelve (12)
                      months on each of counts 57 through 60; all counts imposed concurrently. Three (3)
                      years supervised release on each count, to run concurrently., $5,600.00 special
                      assessment, no fine, and restitution in the total amount of $6,361,622.10.; Count(s)
                      42s, Defendant shall be imprisoned for a total term of forty−two (42) months. This
                      term consists of forty−two (42) months on each of Counts 1 through 42 and 44
                      through 56; and twelve (12) months on each of counts 57 through 60; all counts
                      imposed concurrently. Three (3) years supervised release on each count, to run
                      concurrently., $5,600.00 special assessment, $100,000.00 fine, and restitution in the
                      total amount of $6,361,622.10.; Count(s) 44s−56s, Defendant shall be imprisoned for
                      a total term of forty−two (42) months. This term consists of forty−two (42) months
                      on each of Counts 1 through 42 and 44 through 56; and twelve (12) months on each
                      of counts 57 through 60; all counts imposed concurrently. Three (3) years supervised
                      release on each count, to run concurrently., $5,600.00 special assessment,
                      $100,000.00 fine, and restitution in the total amount of $6,361,622.10.; Count(s)
                      57s−60s, Defendant shall be imprisoned for a total term of forty−two (42) months.
                      This term consists of forty−two (42) months on each of Counts 1 through 42 and 44
                      through 56; and twelve (12) months on each of counts 57 through 60; all counts
                      imposed concurrently. Three (3) years supervised release on each count, to run
                      concurrently., $5,600.00 special assessment, $100,000.00 fine, and restitution in the
                      total amount of $6,361,622.10. Entered by Judge Daniel D. Domenico on
                      11/15/2024. (rkeec) Modified on 11/18/2024 to correct fine amount (rkeec). (Entered:
                      11/15/2024)
   11/15/2024   590   STATEMENT OF REASONS as to Michael Aaron Tew (1). (rkeec) (Entered:
                      11/15/2024)
   11/18/2024   591   Passport Receipt as to Michael Aaron Tew (1). Forwarding passport to Dept. of State;
                      Passport Number 484644160 issued by USA. Sent via certified mail receipt number
                      7019 2970 0001 1984 2455. (rkeec) (Entered: 11/18/2024)
   11/21/2024   592   Unopposed MOTION to Travel by Michael Aaron Tew. (Schall, Jason) (Entered:
                      11/21/2024)
   11/22/2024   593   ORDER granting 592 Motion to Travel as to Michael Aaron Tew. Mr. Tew may
                      travel to Marquette, Michigan between January 1, 2025 and his self−report date. He
                      must (1) provide documentation regarding his travel plans to United States Pretrial
                      and Probation Services in advance of departure, and (2) promptly contact his
                      probation officer upon return from the trip. SO ORDERED by Judge Daniel D.
                      Domenico on 11/22/2024. Text Only Entry (dddlc9, ) (Entered: 11/22/2024)


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   11/25/2024   597   NOTICE OF APPEAL as to 589 Judgment,,,,,,,,,,, by Michael Aaron Tew. (Schall,
                      Jason) (Entered: 11/25/2024)
   11/25/2024   599   DESIGNATION OF RECORD ON APPEAL re 597 Notice of Appeal by Michael
                      Aaron Tew. (Attachments: # 1 Exhibit A)(Frost, Kristen) (Entered: 11/25/2024)
   11/25/2024   600   MOTION to Proceed in Forma Pauperis by Michael Aaron Tew. (Frost, Kristen)
                      (Entered: 11/25/2024)




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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

 Criminal Case No. 1:20-cr-00305-DDD

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 1. MICHAEL AARON TEW,

       Defendant.


                               NOTICE OF APPEAL

      Notice is hereby given that Mr. Michael Aaron Tew, defendant in the above-

 named case, hereby appeals to the United States Court of Appeals for the Tenth

 Circuit from the Judgment in a Criminal Case (Doc. No. 589) entered in this action

 on the 15th day of November 2024.

       DATED this 25th day of November 2024.

                                           /s/ Jason D. Schall
                                       Jason D. Schall
                                       BOWLIN & SCHALL LLC
                                       7350 E Progress Pl Ste 100
                                       Greenwood Village, CO 80111
                                       Telephone: (720) 505-3861
                                       E-mail: jason@bowsch.com

                                       s/ Kristen M. Frost
                                       Kristen M. Frost
                                       RIDLEY, MCGREEVY & WINOCUR, P.C.
                                       303 16th Street, Suite 200
                                       Denver, Colorado 80202
                                       Telephone: (303) 629-9700
                                       Facsimile: (303) 629-9702
                                       E-mail: frost@ridleylaw.com
                                       Attorneys for Michael Tew




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                         CERTIFICATE OF CONFORMITY

       I hereby certify that the foregoing pleading complies with the type-volume

 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                              /s/ Jason D. Schall
                                          Jason D. Schall

                    STATEMENT OF SPEEDY TRIAL IMPACT

       Pursuant to Judge Domenico’s Practice Standard III(C), undersigned counsel

 notes that this filing has no effect on the speedy trial clock.

                                              /s/ Jason D. Schall
                                          Jason D. Schall

                             CERTIFICATE OF SERVICE

       I hereby certify that on November 25, 2024, I electronically filed the foregoing

 with the Clerk of Court using the CM/ECF system which will send notification of

 such filing to the following:

              AUSAs Bryan Fields / Sarah Weiss
              U.S. Attorney’s Office
              1801 California Street, Suite 1600
              Denver, CO 80202
              (303) 454-0100
              Bryan.Fields3@usdoj.gov / Sarah.Weiss@usdoj.gov

 I hereby certify that I will mail or serve the filing to the following participants:

       Mr. Michael Aaron Tew (defendant)

                                              /s/ Jason D. Schall
                                          Jason D. Schall




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AO 245B (CO Rev. 11/20)     Judgment in a Criminal Case



                                       UNITED STATES DISTRICT COURT
                                                                 District of Colorado
                                                                            )
              UNITED STATES OF AMERICA                                      )    JUDGMENT IN A CRIMINAL CASE
                                 v.                                         )
                                                                            )
                  MICHAEL AARON TEW                                         )    Case Number:         20-cr-00305-DDD-1
                                                                            )    USM Number:          45818-013
                                                                            )
                                                                            )    Jason Dale Schall and Kristen M. Frost
                                                                            )    Defendant’s Attorney
THE DEFENDANT:
☐ pleaded guilty to count(s)
☐ pleaded nolo contendere to count(s)
  which was accepted by the court.
☒ was found guilty on count(s)        1 through 42 and 44 through 60 of the Indictment.
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section             Nature of Offense                                                                     Offense Ended          Count
18 U.S.C. §§ 1349 and       Conspiracy to Commit Wire Fraud                                                        07/31/2020              1
1343
18 U.S.C. §§ 1343 and 2 Wire Fraud and Aiding and Abetting                                                          08/18/2018              2
18 U.S.C. §§ 1343 and 2 Wire Fraud and Aiding and Abetting                                                          10/26/2018              3
18 U.S.C. §§ 1343 and 2 Wire Fraud and Aiding and Abetting                                                          10/30/2018              4
18 U.S.C. §§ 1343 and 2 Wire Fraud and Aiding and Abetting                                                          11/20/2018              5
18 U.S.C. §§ 1343 and 2 Wire Fraud and Aiding and Abetting                                                          11/27/2018              6
     The defendant is sentenced as provided in pages 2 through                 9            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐ Count(s)                                                ☐ is     ☐    are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                       November 12, 2024
                                                                       Date of Imposition of Judgment




                                                                       Signature of Judge




                                                                       Daniel D. Domenico, United States District Judge
                                                                       Name and Title of Judge

                                                                       November 15, 2024
                                                                       Date




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 DEFENDANT:                   MICHAEL AARON TEW
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                                           ADDITIONAL COUNTS OF CONVICTION
Title & Section                        Nature of Offense                                                        Offense Ended        Count
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        12/12/2018               7
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        02/08/2019               8
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        02/20/2019               9
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        03/29/2019              10
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        04/04/2019              11
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        07/24/2019              12
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        08/07/2019              13
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        08/19/2019              14
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        08/22/2019              15
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        09/04/2019              16
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        09/10/2019              17
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        09/18/2019              18
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        09/26/2019              19
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        10/17/2019              20
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        10/25/2019              21
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        11/01/2019              22
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        11/08/2019              23
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        11/26/2019              24
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        12/03/2019              25
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        12/12/2019              26
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        12/24/2019              27
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        02/12/2020              28
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        02/20/2020              29
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        03/03/2020              30
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        03/10/2020              31
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        03/20/2020              32
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        04/01/2020              33
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        04/07/2020              34
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        04/16/2020              35
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        04/28/2020              36
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        05/06/2020              37
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        05/13/2020              38
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        05/21/2020              39
18 U.S.C. §§ 1343 and 2                Wire Fraud and Aiding and Abetting                                        07/03/2020              40
18 U.S.C. §§ 1956(h) and 1957          Conspiracy to Commit Money Laundering                                     07/31/2020              41
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                06/04/2019              42
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                08/28/2019              44
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                08/29/2019              45
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                09/04/2019              46
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                09/18/2019              47
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                09/26/2019              48
                                       Specified Unlawful Activity




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 DEFENDANT:                   MICHAEL AARON TEW
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                                           ADDITIONAL COUNTS OF CONVICTION
Title & Section                        Nature of Offense                                                        Offense Ended        Count
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                09/27/2019              49
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                10/01/2019              50
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                10/02/2019              51
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                11/01/2019              52
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                02/20/2020              53
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                02/21/2020              54
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                02/27/2020              55
                                       Specified Unlawful Activity
18 U.S.C. § 1957                       Engaging in Monetary Transactions in Property Derived from                03/03/2020              56
                                       Specified Unlawful Activity
26 U.S.C. § 7203                       Willful Failure to File Income Tax Return                                 07/15/2020              57
26 U.S.C. § 7203                       Willful Failure to File Income Tax Return                                 04/15/2019              58
26 U.S.C. § 7203                       Willful Failure to File Income Tax Return                                 04/17/2018              59
26 U.S.C. § 7203                       Willful Failure to File Income Tax Return                                 04/18/2018              60




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                                                             IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: forty-two (42)
 months. This term consists of forty-two (42) months on each of Counts 1 through 42 and 44 through 56; and twelve (12) months
 on each of counts 57 through 60; all counts imposed concurrently.


      ☒    The court makes the following recommendations to the Bureau of Prisons:
           The Court recommends the Bureau of Prisons designate the defendant to Federal Prison Camp Duluth in Minnesota, as appropriate
           with the defendant's security classification.



      ☐    The defendant is remanded to the custody of the United States Marshal.

      ☐    The defendant shall surrender to the United States Marshal for this district:
           ☐      at                                       ☐      a.m. ☐       p.m.    on                                                  .
           ☐      as notified by the United States Marshal.

      ☒    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ☒      before 2 p.m.          no earlier than January 31, 2025.
           ☐      as notified by the United States Marshal.
           ☒      as notified by the Probation or Pretrial Services Office.

                                                                   RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                            to

 at                                                  , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                              By
                                                                                                 DEPUTY UNITED STATES MARSHAL




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                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: three (3) years. This term consists of 3 years on each of
Counts 1 through 42 and 44 through 56, all counts imposed concurrently.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and a maximum of 20 tests per year of supervision thereafter.
            ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                  substance abuse. (check if applicable)
4.    ☒ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    ☐ You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may, after
      obtaining Court approval, notify the person about the risk or require you to notify the person about the risk and you must comply
      with that instruction. The probation officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date




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                                          SPECIAL CONDITIONS OF SUPERVISION
1.    You must participate in a program of cognitive behavioral treatment (CBT) approved by the probation officer and follow the rules
      and regulations of such program. The probation officer, in consultation with the treatment provider, will supervise your participation
      in the program as to modality, duration, and intensity. You must pay for the cost of treatment based on your ability to pay.
2.    If the judgment imposes a financial penalty/restitution, you must pay the financial penalty/restitution in accordance with the Schedule
      of Payments sheet of this judgment. You must also notify the court of any changes in economic circumstances that might affect your
      ability to pay the financial penalty/restitution.
3.    You must not incur new credit charges or open additional lines of credit without the approval of the probation officer, unless you are
      in compliance with the periodic payment obligations imposed pursuant to the Court’s judgment and sentence.
4.    You must provide the probation officer access to any requested financial information and authorize the release of any financial
      information until all financial obligations imposed by the court are paid in full.
5.    You must apply any monies received from income tax refunds, inheritances, judgments, and any anticipated or unexpected financial
      gains to the outstanding court-ordered financial obligation in this case.
6.    If you have an outstanding financial obligation, the probation office may share any financial or employment documentation relevant
      to you with the Asset Recovery Division of the United States Attorney's Office to assist in the collection of the obligation.
7.    You must document all income and compensation generated or received from any source and must provide that information to the
      probation officer as requested.
8.    You must provide the probation officer access to any requested financial information and authorize the release of any financial
      information.
9.    You must not cause or induce anyone to conduct any financial transaction on your behalf or maintain funds on your behalf.
10.   You must not conduct any foreign financial transactions without the advance approval of the probation officer.
11.   You must not conduct any transactions in cryptocurrency or otherwise access cryptocurrency accounts without the advance approval
      of the probation officer.
12.   You must maintain separate personal and business finances and must not co-mingle personal and business funds or income in any
      financial accounts, including but not limited to bank accounts and lines of credit.
13.   You must not open or otherwise use any financial transaction account without the advance approval of the probation officer.
14.   Pursuant to 18 U.S.C. § 3562(b)(2), you shall make restitution to the victim, the Internal Revenue Service, in the amount of
      $1,307,743.60.
15.   You must submit your person, property, house, residence, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic
      communications or data storage devices or media, or office, to a search conducted by a United States probation officer. Failure to
      submit to search may be grounds for revocation of release. You must warn any other occupants that the premises may be subject to
      searches pursuant to this condition. An officer may conduct a search pursuant to this condition only when reasonable suspicion exists
      that you have violated a condition of your supervision and that the areas to be searched contain evidence of this violation. Any search
      must be conducted at a reasonable time and in a reasonable manner.




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                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                       Assessment                   Restitution            Fine                   AVAA Assessment*           JVTA Assessment**
TOTALS             $ 5,600.00                  $ 6,361,622.10            $ 100,000.00        $ 0.00                     $ 0.00


☐ The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

☒ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                     Total Loss***              Restitution Ordered            Priority or Percentage
National Air Cargo                                                                                  $5,053,878.50
Attn: Accounting Office
350 Windward Drive
Orchard Park, New York 14127
Internal Revenue Service                                                                              $1,307,743.60
IRS – RACS
Attn: Mail Stop 6261, Restitution
333 W. Pershing Avenue
Kansas City, MO 64108




TOTALS                                                        $                               $         6,361,622.10
☐ Restitution amount ordered pursuant to plea agreement              $

☒ The defendant must pay interest on any restitution or fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
  subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    ☐ the interest requirement is waived for the            ☐ fine       ☐ restitution.

    ☐ the interest requirement for the        ☐      fine     ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Publ. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☐ Lump sum payment of $                                    due immediately, balance due

           ☐      not later than                                    , or
           ☐      in accordance with ☐        C,     ☐      D,      ☐ E, or ☐           F below; or

B     ☒ Payment to begin immediately (may be combined with ☐ C,                         ☐     D, or     ☒       F below); or

C     ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                           (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                           (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     ☐ Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ☒ Special instructions regarding the payment of criminal monetary penalties:
           The special assessment, restitution, and fine obligation are due immediately. Any unpaid monetary obligations upon release from
           incarceration shall be paid in monthly installment payments during the term of supervised release. The monthly installment
           payment will be calculated as at least 10 percent of the defendant’s gross monthly income.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☒     Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                                                                       Corresponding Payee, if
      (including defendant number)                               Total Amount            Joint and Several Amount                  appropriate
      Michael Aaron Tew – 1:20-cr-00305-1                        $6,361,622.10                 $5,053,878.50                   National Air Cargo
      Kimberly Ann Tew - 1:20-cr-00305-2                         $5,053,878.50                 $5,053,878.50                   National Air Cargo
      Jonathan K. Yioulos - 1:20-cr-00305-3                          TBD                            TBD                               TBD
☐     The defendant shall pay the cost of prosecution.

☐     The defendant shall pay the following court cost(s):

☒     The defendant shall forfeit the defendant’s interest in the following property to the United States:
      A personal money judgment in the amount of proceeds obtained by the scheme and by the defendants, $5,023,878.50.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.




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